           Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 1 of 77             FILED
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                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


                             UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ALABAMA
                                NORTHEASTERN DIVISION


MICHAEL BURBRIDGE, Individually and             Case No. 5:20-cv-00050-LCB
On Behalf of All Others Similarly Situated,
                                                CLASS ACTION
                                   Plaintiff,

                       v.                       CONSOLIDATED CLASS ACTION
                                                COMPLAINT FOR VIOLATION OF
ADTRAN INC., THOMAS R. STANTON,                 THE FEDERAL SECURITIES LAWS
MICHAEL FOLIANO, and ROGER D.
SHANNON,

                                Defendants.




010865-11/1260990 V1
           Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 2 of 77



                                                  TABLE OF CONTENTS
                                                                                                                                       Page

I.       NATURE OF THE ACTION ..............................................................................................1

II.      JURISDICTION AND VENUE ..........................................................................................9

III.     PARTIES ...........................................................................................................................10

         A.         Lead Plaintiffs ........................................................................................................10

         B.         Defendants .............................................................................................................10

II.      SUBSTANTIVE ALLEGATIONS ...................................................................................14

         A.         Background Information ........................................................................................17

                    1.         ADTRAN’s Business and Operations .......................................................17

                               a.         The Importance of ADTRAN’s Inventory Management ...............19

                               b.         ADTRAN’s Sharp Decline in Business from CenturyLink ...........19

                               c.         ADTRAN’s Pivot to the International Market...............................21

                    2.         ADTRAN’s Faulty Systems of Internal Accounting Control for its
                               Inventory ....................................................................................................23

                    3.         ADTRAN’s Knowledge of Problems Impacting its Tier 1 Customer
                               Deutsche Telekom .....................................................................................26

                    4.         ADTRAN’s Knowledge of Problems Impacting its Tier 1 Customer
                               Telmex .......................................................................................................29

         B.         Defendants’ False and Misleading Statements During the Class Period ...............32

         C.         ADTRAN’s Financial Statements Failed to Comply with GAAP.........................53

         D.         Loss Causation .......................................................................................................56

         E.         Additional Scienter Allegations .............................................................................59

IV.      APPLICABILITY OF PRESUMPTION OF RELIANCE: FRAUD ON THE
         MARKET DOCTRINE .....................................................................................................66

V.       NO SAFE HARBOR .........................................................................................................67

VI.      CLASS ACTION ALLEGATIONS ..................................................................................68

VII.     CLAIMS BROUGHT UNDER THE EXCHANGE ACT.................................................69

IX.      JURY DEMAND ...............................................................................................................73



                                                                   -i-
010865-11/1260990 V1
           Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 3 of 77



         Lead Plaintiffs Michael Burbridge and Reza Adhami, Ph.D. (collectively, “Lead

Plaintiffs”), by and through their counsel, allege the following upon information and belief,

except as to those allegations concerning Lead Plaintiffs, which Lead Plaintiffs allege upon

personal knowledge. Lead Plaintiffs’ information and belief is based upon Lead Counsel’s

investigation, which included review and analysis of: (i) ADTRAN’s regulatory filings with the

U.S. Securities and Exchange Commission (the “SEC”); (ii) ADTRAN’s press releases and

public statements; (iii) analyst reports concerning ADTRAN; (iv) interviews with former

ADTRAN employees; and (v) additional public information regarding the Company. Lead

Counsel’s investigation into the factual allegations contained herein is continuing, and many of

the relevant facts are known only by Defendants or are exclusively within their custody or

control. Lead Plaintiffs believe that substantial additional evidentiary support will exist for the

allegations set forth herein after a reasonable opportunity for further investigation or discovery.

                                I.      NATURE OF THE ACTION

         1.       This securities class action arises from Defendants’ false and misleading

statements and omissions about ADTRAN’s accounting for excess and obsolete inventory, the

adequacy of the Company’s internal controls over financial reporting, and ADTRAN’s

relationship with its most important Tier 1 international telecommunication clients, Deutsche

Telekom and Telmex. Between February 13, 2019 and October 31, 2019 (“Class Period”), in the

Company’s SEC filings, Defendants repeatedly confirmed ADTRAN’s compliance with its

stated inventory accounting policies, affirmed the effectiveness of the Company’s internal

controls over financial reporting, and emphasized the strong demand signals they were receiving

from prized telco customers Deutsche Telekom and Telmex. Defendants, however, concealed

material deficiencies in ADTRAN’s inventory accounting systems, which resulted in an

inaccurate determination of ADTRAN’s inventories, understatement of ADTRAN’s excess and


                                                 -1-
010865-11/1260990 V1
           Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 4 of 77



obsolete inventory reserve, and overstatement of important reported financial metrics dependent

upon the stated E&O reserve figure, including net income and earnings per share (EPS). In

addition, while hyping Deutsche Telekom’s and Telmex’s “very clear and strong” demand,

Defendants omitted to disclose material facts about ADTRAN’s customers that were certain to

impact the Company’s future revenues, including Deutsche Telekom’s plan to dramatically

reduce capital expenditures and severe installation delays and problems at Telmex. Defendants’

misrepresentations about ADTRAN’s inventories, internal controls over financial reporting, and

existing projects with its major Tier 1 telco clients inflated the price of ADTRAN’s common

stock, until a series of disclosures about ADTRAN’s deficient inventory accounting systems,

reduced shipments to Deutsche Telekom and Telmex, and disappointing financial performance

and outlook, caused the stock price to plummet.

         2.       Based in Huntsville, Alabama, ADTRAN is a networking and communications

company that provides services which enable voice, data, video, and internet communications

across a variety of network infrastructures. ADTRAN also offers a broad portfolio of flexible

software and hardware network solutions to service providers. The Company differentiates itself

from competitors by offering cost-effective solutions for access and aggregation.

         3.       Over the past decade, the Company has experienced a significant decline in

annual revenues due to the loss of substantial business from historical American Tier 1

telecommunication clients, including AT&T and CenturyLink. As business from domestic Tier

1 carriers has decreased, ADTRAN has become a more global company with deepening

engagements with Tier 1 carriers worldwide. Among ADTRAN’s most important international

carrier clients are German telecommunications company Deutsche Telekom, and Latin American

carrier Telmex. Indeed, throughout the Class Period, Deutsche Telekom and Telmex were two




                                                 -2-
010865-11/1260990 V1
           Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 5 of 77



of the three largest ADTRAN’s customers, repeatedly individually contributing more than 10%

of ADTRAN’s quarterly revenue. While large project wins at these international carriers hold

the promise of a steady revenue stream over the next several years, the work offers low-margins.

Moreover, the Company has sunk significant sums on recent acquisitions, including SmartRg, to

gain a greater footing in the cloud services and next-generation open networking solutions space.

Accordingly, 2018 marked a year of net losses and negative EPS. Thus, given ADTRAN’s core

competencies and business strategy, it was critical for ADTRAN to maintain efficient supply

chain and inventory controls and continue to execute on shipments to Deutsche Telekom and

Telmex to return to profitability in 2019.

         4.       Unbeknownst to investors, ADTRAN’s internal controls over financial reporting

relating to its represented inventories were entirely defective. According to well-placed, reliable

former ADTRAN employees with personal knowledge of the subject matter, and further

corroborated by Defendants’ later disclosures, ADTRAN relied on an “ancient” inventory

accounting and Enterprise Resource Planning system internally referred to as “Baan.” The Baan

system was so outdated and obsolete that the Company’s staff was forced to create their own

workarounds to the system. As a result of the “clunky and unreliable” system, ADTRAN

struggled with documenting and verifying the existence of all inventories. Indeed, according to a

former ADTRAN employee, old and unsalable inventory was littered across ADTRAN’s

corporate headquarters and was everywhere you looked. As a result of this complete breakdown

in internal controls, key reports and related data used to value ADTRAN’s inventory were

incomplete and inputs and assumptions used to determine ADTRAN’s excess and obsolete

inventory reserve were inaccurate. As a direct consequence of ADTRAN’s faulty systems for

inventory accounting, at points during the Class Period, Defendants understated ADTRAN’s




                                                -3-
010865-11/1260990 V1
           Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 6 of 77



excess and obsolete inventory reserves and overstated important financial metrics dependent

upon the E&O reserve figure, including ADTRAN’s reported net income and earnings per share

(EPS).

         5.       Defendants knew both before and throughout the Class Period about ADTRAN’s

faulty and unreliable inventory accounting system, but refused to invest sufficient resources in a

proper inventory management system. Indeed, Defendant Stanton himself admitted to ADTRAN

employees the inventory accounting system was inadequate. Specifically, at an ADTRAN

employee meeting occurring in either 2017 or 2018 in which Defendant Stanton met with CW1

and several other ADTRAN employees at Company headquarters, Defendant Stanton discussed

the need to update ADTRAN’s accounting system. Moreover, Defendant Stanton took

undisclosed steps to address the Company’s problematic inventory control system, including

creating a task force to assess which software program ADTRAN should purchase to replace the

antiquated Baan system. Moreover, ADTRAN even solicited bids from ERP software firms for a

replacement system, but no change was made during the relevant time period due to concerns it

would impact ADTRAN’s bottom line and stock price.

         6.       Notwithstanding the foregoing, in ADTRAN’s SEC filings, Defendants

repeatedly represented ADTRAN’s compliance with the Company’s stated inventory accounting

policy of “writing down the Company’s inventory for estimated obsolescence or unmarketable

inventory by an amount equal to the difference between the cost of inventory and the estimated

fair value.” Defendants further quantified ADTRAN’s reserve for excess and obsolete inventory,

and confirmed the accuracy of financial metrics dependent upon the E&O reserve figure,

including ADTRAN’s reported net income and EPS. Defendants also signed certifications

pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”), falsely attesting to the accuracy of




                                               -4-
010865-11/1260990 V1
           Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 7 of 77



ADTRAN’s financial reporting, the disclosure of any material changes to the Company’s

internal control over financial reporting, and the disclosure of all fraud.

         7.       Separate and apart from Defendants’ improper inventory accounting, Defendants

concealed material facts about Deutsche Telekom and Telmex that were certain to impact the

Company’s future revenues. In particular, based on Deutsche Telekom’s participation in an

expensive auction bidding process for 5G access lines orchestrated by German regulators in the

first quarter of 2019, Defendants knew that Deutsche Telekom intended to significantly decrease

its capital expenditure for ADTRAN access and aggregation products until at least the beginning

of 2020. Moreover, Defendants knew of severe problems plaguing its project at Telmex and the

Company’s relationship with this critical customer. Specifically, in negotiating the Telmex

project, ADTRAN steadfastly refused to bundle installation services onto the Telmex contract,

angering Telmex executives. Accordingly, Telmex was forced to hire an inexperienced third-

party contractor. As a result, the project suffered from severe delays in product installations as

well as improper installations that led to damaged products and massive product failures. These

installation issues caused an overall buildup of too much ADTRAN product inventory and

ultimately resulted in Telmex putting a pause on shipments of ADTRAN goods by summer

2019.

         8.       Former employees and other sources confirm Defendants’ knowledge of Deutsche

Telekom’s spending plans in 2019 and problems at the Telmex project throughout the Class

Period. Based on regular forecasts Deutsche Telekom provided to Defendants and public

information about the 5G auction, ADTRAN should have been aware that the launch of 5G had

the potential to be disruptive to their forecasts. Moreover, a former employee confirmed that

Defendants were well-aware of the third-party technician’s delay in installing the products. All




                                                 -5-
010865-11/1260990 V1
             Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 8 of 77



throughout 2019, ADTRAN offered to help with the installations, but the two companies could

not agree on a rate to pay for the installation work. During the first half of 2019, Telmex

provided reports to ADTRAN management of massive product failures. In response, ADTRAN

conducted testing and analysis of the problem and determined that Telmex’s third-party

installation workers were installing them incorrectly.

         9.       Indeed, Defendant Stanton had actual knowledge of the product damage issues

causing the delay in installation at Telmex, as he kept updated on all aspects of the work for

Telmex through regular ADTRAN team calls and spoke frequently about the project and

installation issues directly with Telmex representatives. In fact, Defendant Stanton even met

personally with Telmex officials for a review meeting to discuss the project installation issues

sometime between spring and July 2019. ADTRAN prepared for at least two months in advance

of the review meeting. As a result of the review meeting, ADTRAN set up a training session for

those installing the work in Guadalajara, Mexico so that the equipment would be properly

installed.

         10.      Despite this knowledge, however, throughout the Class Period, Defendants

assured investors that their rosy guidance projecting strong quarter-to-quarter revenue growth

was justified, given the “very clear and strong plans” their two most important international

telecommunication clients, Deutsche Telekom and Telmex, were communicating to Defendants

confirming the clients’ intent “to increase their broadband” with ADTRAN’s products

throughout 2019. Defendants falsely claimed that ADTRAN’s large European Tier 1 customer

(Deutsche Telekom) would continue its spending on existing ADTRAN projects and that

business in the European region would “be consistent with where we were last year.” In fact, in

response to analyst skepticism, Defendants refuted that there would be “a traditional kind of




                                                -6-
010865-11/1260990 V1
           Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 9 of 77



falloff in 3Q from [ADTRAN’s] European customers,” and instead would be an “uptick.”

Similarly, Defendants falsely told investors that “[Telmex] ha[d] shared with us their plans. And

right now, we’re expecting kind of solid strength through the year with that customer.”

         11.      The market learned the true facts about ADTRAN’s inventory accounting systems

and relationship with its Tier 1 customers through a series of disclosures beginning on July 17,

2019, when during aftermarket hours, ADTRAN issued a press release announcing positive

financial results for the quarter ended June 30, 2019. The Company designated these results as

“preliminary,” making the disturbing announcement that it was investigating potential

weaknesses in its accounting internal controls that may have led to errors in its previously

reported financial results from past accounting periods.

         12.      On the earnings call the next day, the Company also disclosed that it was slashing

3Q revenue guidance that missed the lowest analyst estimate. In contrast to its prior statements

of seeing strong demand from Deutsche Telekom, the Company claimed that earnings in the

third quarter would be significantly impacted by a “temporary slowdown in capital spending for

access at a Tier 1 European carrier customer,” which analysts immediately identified as Deutsche

Telekom.

         13.      In response to this alarming news, ADTRAN’s share price dropped more than

23% from $15.39 to close at $11.80 per share on July 18, 2019, on trading volume that was more

than nine times the 20-day average for this time of day.

         14.      ADTRAN shares fell for a second straight session on July 19, 2019, building on

the previous day’s 23% plummet as securities analysts continued to digest the Company’s recent

results and outlook. Indeed, analyst firms cut their ADTRAN share price targets, citing the




                                                 -7-
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 10 of 77



Company’s delay in filing their financials due to the assessment of its internal controls over

inventory accounting and the impact of a major customers’ lower spending.

         15.      Subsequent disclosures in August and September 2019 confirmed that the

market’s severe reaction to this news was justified – ADTRAN was forced to admit that it had a

material weakness in its internal controls that had led to the material overstatement of its 1Q2019

financial results.

         16.      On October 9, 2019, ADTRAN disclosed disappointing “preliminary” earnings

for the third quarter of 2019, explaining that based on preliminary information, revenue for the

quarter was only expected to be $119 million, after guiding for $130-$150 million in July 2019.

In addition to the continued slowdown in the spending at an international Tier 1 customer

(Deutsche Telekom), the Company explained that the dismal performance and sales miss was

driven by a pause in shipments to ADTRAN’s other major international Tier 1 customer,

Telmex. Defendants explained, “Although we expect our Latin American customer sales to

rebound, our current visibility regarding timing is limited.” In turn, for the fourth quarter 2019,

ADTRAN announced that it expected revenue to range from flat to slightly down from the third

quarter’s dismal figure. Overall, the Company’s international business dropped from $81 million

to $31 million quarter-over-quarter, ADTRAN’s worst international top-line performance since

June 2016. On this news, the Company’s share price fell $2.10 per share, over 19%, to close at

$8.81 per share on October 10, 2019, on unusually high trading volume.

          17.     Finally, on October 31, 2019, ADTRAN came clean when it clarified the true

nature of the problems occurring at the Telmex project on an earnings call with analysts. In

particular, the Company admitted that Telmex had paused shipments based on a build-up of

inventory and that the parties were engaged in negotiations regarding the build out of ADTRAN




                                                -8-
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 11 of 77



products. On this news, ADTRAN shares dropped $0.77 per share to close trading at $8.81 per

share on October 31, 2019 – a decline of more than 8%.

            18. All told, ADTRAN’s stock lost over $430 million in shareholder value during the

Class Period, down more than 50% from their Class Period high.

                                                                    ADTRAN
                           $20

                           $18

                           $16
             Stock Price




                           $14

                           $12

                           $10

                           $8
                                        Class Period: February 13, 2019 – October 31, 2019
                           $6




                                          II.          JURISDICTION AND VENUE

         19.                 The claims asserted herein arise under and pursuant to: (i) Sections 10(b) and

20(a) of the Exchange Act, 15 U.S.C. §§ 78j(b) and 78t(a), and SEC Rule 10b-5 promulgated

thereunder (17 C.F.R. § 240.10b-5).

         20.                 This Court has jurisdiction over the claims asserted in this Complaint pursuant to

Section 27 of the Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. §§ 1331 and 1337.

         21.                 Venue is proper in this District pursuant to Section 27 of the Exchange Act (15

U.S.C. § 78aa) and 28 U.S.C. § 1391(b). ADTRAN maintains its corporate headquarters in

Huntsville, Alabama, which is situated in this District, conducts substantial business in this




                                                                         -9-
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 12 of 77



District, and many of the acts and conduct that constitute the violations of law complained of

herein, including the preparation and dissemination to the public of materially false and

misleading information, occurred in this District.

         22.      In connection with the acts alleged in this Complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not

limited to, the mails, interstate telephone communications, and the facilities of the national

securities markets.

                                          III.    PARTIES

A.       Lead Plaintiffs

         23.      Lead Plaintiff Michael Burbridge is an individual investor. Lead Plaintiff

Burbridge purchased shares of ADTRAN stock on the Nasdaq Stock Market (“Nasdaq”) during

the Class Period and suffered damages as a result of the violations of the federal securities laws

alleged herein.

         24.      Lead Plaintiff Reza Adhami, Ph.D. is an individual investor. Lead Plaintiff

Adhami purchased shares of ADTRAN stock on the Nasdaq Stock Market (“Nasdaq”) during the

Class Period and suffered damages as a result of the violations of the federal securities laws

alleged herein.

B.       Defendants

         25.      Defendant ADTRAN is a global telecommunications equipment provider with

over 1,900 employees worldwide. Incorporated in Delaware, the Company maintains its

corporate headquarters within this judicial district at 901 Explorer Blvd., Huntsville, Alabama.

ADTRAN’s stock trades on the Nasdaq, which is an efficient market, under ticker symbol

“ADTN.” Throughout the Class Period, ADTRAN had over 48 million shares of stock

outstanding, owned by at least thousands of investors.


                                                 - 10 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 13 of 77



         26.      Defendant Thomas R. Stanton (“Stanton”) was, at all relevant times, the Chief

Executive Officer (“CEO”) of the Company and Chairman of ADTRAN’s Board of Directors.

Stanton has led ADTRAN since September 2005, when he was named CEO. In 2007, Stanton

was later named Chairman of the Board. Prior to stewarding the Company, Stanton held a

number of senior management roles in the Company’s Carrier Networks business since joining

the Company in 1995.

         27.      Defendant Michael Foliano (“Foliano”) has been the Senior Vice President of

Finance/Chief Financial Officer (“CFO”) of the Company since March 2019. According to the

Company’s website, Defendant Foliano has responsibility for all financial aspects of the

Company’s operations as well as oversight responsibility for ADTRAN’s global facilities,

human resources, and legal teams. Foliano has had various senior management roles at

ADTRAN since joining the Company in 2006, including Senior Vice Present - Global Services

and Support (June 2018 – March 2019) and Senior Vice President – Global Operations (June

2006 – January 2019).

         28.      Defendant Roger D. Shannon (“Shannon”) was the CFO and Senior Vice

President of Finance of the Company from November 2015 to March 2019. After leaving his

post as CFO, Shannon had a brief stint as ADTRAN’s Treasurer and Head of Corporate

Development until he left the Company in June 2019. As CFO and Senior Vice President of

Finance for ADTRAN, Shannon was responsible for the Company’s accounting, treasury, tax,

investor relations, legal, financial planning & analysis, and business transactions functions.

Shannon was also a member of the executive team, responsible for developing and implementing

strategies to profitably grow the company’s business, including M&A, international expansion,

and strategic business analysis. During the Class Period, while in possession of material non-




                                                - 11 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 14 of 77



public information, Defendant Shannon sold 11,901 shares of ADTRAN common stock in

market transactions for total proceeds of $160,824.42. These sales represented 48.2% of his total

holdings of ADTRAN common stock.

         29.      Defendants ADTRAN, Stanton, Foliano and Shannon are herein collectively

referred to as “Defendants.” Defendants Stanton, Foliano and Shannon are collectively referred

to herein as the “Individual Defendants.”

         30.      During the Class Period, the Individual Defendants, as senior executive officers

and/or directors of ADTRAN, were privy to confidential and proprietary information concerning

ADTRAN, its operations, finances, financial condition and present and future business prospects.

The Individual Defendants also had access to material adverse non-public information

concerning ADTRAN, as discussed in detail below. Because of their positions with ADTRAN,

the Individual Defendants had access to non-public information about its business, finances,

products, markets and present and future business prospects via internal corporate documents,

conversations and connections with other corporate officers and employees, attendance at

management and/or board of directors meetings and committees thereof, and via reports and

other information provided to them in connection therewith. Because of their possession of such

information, the Individual Defendants knew or recklessly disregarded that the adverse facts

specified herein had not been disclosed to, and were being concealed from, the investing public.

         31.      The Individual Defendants are liable as direct participants in the wrongs

complained of herein. In addition, the Individual Defendants, by reason of their status as senior

executive officers and/or directors, were “controlling persons” within the meaning of Section

20(a) of the Exchange Act and had the power and influence to cause the Company to engage in

the unlawful conduct complained of herein. Because of their positions of control, the Individual




                                                 - 12 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 15 of 77



Defendants were able to and did, directly or indirectly, control the conduct of ADTRAN’s

business.

         32.      During the Class Period, the Individual Defendants, because of their positions

with ADTRAN, regularly spoke in public, at investor conferences and on earnings calls about the

Company’s reported financial results and other relevant subjects as discussed herein, possessed

the power and authority to control the contents of ADTRAN’s reports to the SEC, press releases,

and presentations to securities analysts, money and portfolio managers, and investors. The

Individual Defendants were each provided with copies of the Company’s reports and press

releases alleged herein to be misleading prior to, or shortly after, their issuance and had the

ability and opportunity to prevent their issuance or cause them to be corrected. Because of their

positions and access to material non-public information available to them, the Individual

Defendants each knew that the adverse facts specified herein had not been disclosed to, and were

being concealed from, the public, and that the positive representations which were being made

were then materially false and/or misleading. Thus, the Individual Defendants had the

opportunity to commit the fraudulent acts alleged herein.

         33.      As senior executive officers and/or directors and as controlling persons of a

publicly traded company whose common stock was, and is, registered with the SEC pursuant to

the Exchange Act, and whose securities were traded on the NASDAQ, the Individual Defendants

had a duty to promptly disseminate accurate and truthful information with respect to ADTRAN’s

financial condition and performance, growth, operations, financial statements, business,

products, markets, management, earnings and present and future business prospects, and to

correct any previously issued statements that had become materially misleading or untrue, so that

the market price of ADTRAN’s securities would be based upon truthful and accurate




                                                 - 13 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 16 of 77



information. The Individual Defendants’ misrepresentations and omissions during the Class

Period violated these specific requirements and obligations.

          34.     The Individual Defendants are liable as participants in a fraudulent scheme and

course of conduct that operated as a fraud or deceit on purchasers of ADTRAN’s securities by

disseminating materially false and misleading statements and/or concealing material adverse

facts. The scheme: (i) deceived the investing public regarding ADTRAN’s business, operations

and management and the intrinsic value of ADTRAN’s securities; (ii) allowed Individual

Defendant Shannon to sell nearly half of his shares at artificially inflated prices; and (iii) caused

Plaintiffs and members of the Class to purchase ADTRAN securities at artificially inflated

prices.

                             II.     SUBSTANTIVE ALLEGATIONS

          35.     Lead Plaintiffs’ allegations are based on the investigation conducted by counsel,

which included, among other things, reviews of ADTRAN’s public filings with the SEC, press

releases, transcripts of the Company’s conference calls with Wall Street analysts, publicly

available trading information, and articles in the general and financial press.

          36.     Lead Plaintiffs’ allegations are also based upon information provided by former

employees of ADTRAN with knowledge of the facts alleged herein, including, but not limited to,

the confidential witnesses listed below.

          37.     Confidential Witness No. 1 (“CW1”) is a former employee of ADTRAN who

worked as a pricing administrator in the Company’s corporate headquarters in Huntsville,

Alabama from March 2012 through January 2019. From June 2016 until CW1’s departure in

January 2019, CW1 was the lead pricing administrator at ADTRAN, where CW1 was one of five

people on the pricing team, which was under the sales operations department. In this position,

CW1 prepared pricing reports, worked closely with sales staff to produce bids for work projects,


                                                 - 14 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 17 of 77



and prepared reports that summarized shipments and cost data. During this time, CW1 reported

directly to ADTRAN’s Pricing Manager. As part of CW1’s duties, CW1 also responded to

financial requests from the sales department. CW1 has personal knowledge of ADTRAN’s

internal computer and software systems managing ADTRAN’s inventory, as CW1 worked with

the Company’s computer system that managed inventory to ensure accurate pricing was inputted.

In this position, CW1 was in a position to know, and does know, about the deficiencies in

ADTRAN’s internal controls over financial reporting, including its use of the Baan 4.0 ERP

software. In addition, CW1 personally participated in discussions with Defendant Stanton

regarding the inadequacies of the Company’s accounting software, as detailed herein.

         38.      Confidential Witness No. 2 (“CW2”) is a former employee of ADTRAN who

worked as a Product Support Engineer from May 2013 through October 2019 at its corporate

headquarters in Huntsville, Alabama. At ADTRAN, CW2 worked in the managed services

group, one of five product support teams at ADTRAN. CW2 reported directly to ADTRAN’s

Product Support Managers. CW2 had personal knowledge regarding the inventory ADTRAN

had on-hand, as CW2 was primarily responsible for working with clients to troubleshoot

problems they reported with ADTRAN equipment and on occasion helped to develop network

solutions for prospective jobs the Company was pursuing. CW2 further has personal knowledge

of ADTRAN’s inventory systems and software tools. For example, CW2 used ADTRAN’s

internal invoicing system to track the transfer of equipment from one department to the next

where products that had serial numbers were tracked using “zero-dollar invoicing” to allow the

various departments at ADTRAN to “purchase” the equipment. CW2 explained if CW2 needed

a specific piece of equipment to check its usability because a customer was having problems

with it, CW2 would issue a ticket through the invoicing system requesting it. Likewise, sales




                                             - 15 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 18 of 77



staff could request equipment to use as a demo. Thus, in this job, CW2 was in a position to

know, and does know, about the accounting and internal control issues arising at ADTRAN with

respect to the Company’s E&O Reserves calculations.

         39.      Confidential Witness No. 3 (“CW3”) is a former employee of ADTRAN who

worked as a Senior Director of MSO sales (Multiple Systems Operations) from March 2018 until

July 2019. At ADTRAN, CW3 worked remotely out of a home office, but traveled frequently to

the corporate headquarters in Huntsville, Alabama and to meet with key clients of ADTRAN.

CW3 reported directly to ADTRAN’s Vice President of Sales. Apart from CW3’s time at

ADTRAN, CW3 also has significant industry experience, working both now and previously with

competitors of ADTRAN and as the VP of Sales of North America for a company acquired by

ADTRAN in the areas of business development and acting as a liaison to Tier 1 communications

clients. Now and previously, CW3 has worked closely with Deutsche Telekom. Based upon

CW3’s industry experience and time at ADTRAN, CW3 was in a position know, and does know,

about the Company’s relationship with its Tier 1 European customer Deutsche Telekom,

ADTRAN’s visibility into Deutsche Telekom’s spending on ADTRAN’s products and

forecasting of future sales to Deutsche Telekom.

         40.      Confidential Witness No. 4 (“CW4”) is a former employee of ADTRAN who

worked as Vice President of Sales-Latin America for ADTRAN from October 2018 until

November 2019. CW4 reported to ADTRAN’s Senior Vice President of Sales. CW4 worked

remotely from home; however, CW4 traveled frequently to Latin America to meet with

ADTRAN’s Latin American Tier 1 customer, Telmex. At ADTRAN, CW4 was responsible for

overseeing the relationships with customers in Latin America and worked directly with the

customers and ADTRAN executive leadership. In this job, CW4 was in a position know, and




                                             - 16 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 19 of 77



does know, about the Company’s relationship with its Tier 1 Latin American customer Telmex,

ADTRAN’s visibility into shipments to Telmex products and forecasting of future sales to

Telmex.

A.       Background Information

         1.       ADTRAN’s Business and Operations

         41.      ADTRAN is a global telecommunications equipment provider. The Company

offers a portfolio of networking and communications products covering broadband, optical,

WAN, LAN, and unified communication areas. The Company has sales in the United States,

Europe, the Middle East and Africa, Asia-Pacific, and Latin America.

         42.      ADTRAN was founded in 1985 with a focus on supplying ADvanced

TRANsmission products for high-speed digital communications. ADTRAN went public in 1994

driven by the early growth in deployment of high speed copper (XDSL) access technologies at

US local telephone carriers, led by High-bit-rate digital subscriber line (HDSL) technologies at

the Regional Bell operating companies, which eventually consolidated to become today’s

AT&T, Verizon and CenturyLink.

         43.      ADTRAN services a domestic and international customer base that includes Tier

1, 2, and 3 communications service providers, cable companies, and distributed entities.1

ADTRAN’s distribution of sales has been fairly consistent, with an average of 65% of sales

traditionally derived from the Tier 1 major service providers such as AT&T, Verizon, Qwest,

and Century Link along with Tier 2 companies. The remainder of sales comes from a network of

1,400 so-called “value-added” resellers.


    1
      The Internet is comprised of several service providers that are categorized hierarchically. Tier 1 providers
form the backbone of the Internet and exchange free access and information with other Tier 1 providers. Tier 2
providers connect between Tier 1 and 3 providers, oftentimes for a fee. Examples of Tier 1 service providers include
AT&T Inc. and CenturyLink, Inc. (“CenturyLink”).



                                                      - 17 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 20 of 77



         44.      The majority of ADTRAN’s revenues come from broadband access infrastructure.

ADTRAN enjoyed a solid market position in copper-based networks in the 2000s. But as

communication technologies evolved away from copper toward fiber and wireless, the Company

has struggled to generate growth. In the period since the great recession, ADTRAN achieved

peak revenue of $717 million in 2011. However, since this time through 2017, ADTRAN’s sales

remained relatively flat, with revenues oscillating around $600 million annually.

         45.      Over the past several years, ADTRAN has faced a major drop in revenue

contribution from its leading North American Tier 1 customer, CenturyLink, and has sought to

make up this shortfall by increasing sales to international customers.

         46.      The Company operates and reports revenue under two business segments: (i)

Network Solutions; and (ii) Service and Support. ADTRAN’s Network Solutions segment

generates the majority of the Company’s revenues. The Network Solutions segment consists of

software and hardware products that provide solutions supporting fiber-, copper- and coaxial-

based infrastructures and more recently wireless solutions. ADTRAN offers both chassis-based

networks solutions, such as ADTRAN’s Total Access 5000 (TA5000) and hiX families, as well

as disaggregated network solutions which leverage ADTRAN’s Software Defined Access (SD-

Access) architecture.

         47.      ADTRAN’s Service and Support segment complements its Network Solutions. It

consists of consulting, managed services, solutions integration, network implementation and

maintenance services.

         48.      ADTRAN further categorizes its sales into three groups: (i) access and

aggregation; (ii) customer devices; and (iii) traditional and other products. The overall trend of

sales distribution across these groups reflects the direction of technology evolution in the




                                                - 18 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 21 of 77



network field. The traditional and other products group represents a set of mature technologies

such as TDM/ATM/HDSL, which are being replaced by newer technologies.

                  a.     The Importance of ADTRAN’s Inventory Management

         49.      ADTRAN has positioned itself as a low-cost provider to remain competitive in

this industry. However, competing on the basis of lower-cost requires a tightly run operation

with strong cost controls.

         50.      A substantial portion of the Company’s shipments in any fiscal period relates to

orders received and shipped within that fiscal period for customers under agreements containing

non-binding purchase commitments. Further, a significant percentage of orders require delivery

within a few days.

         51.      To support this type of customer demand, the Company must maintain substantial

inventories of raw materials for long lead-time components, as well as substantial finished goods

inventories to assure prompt delivery of ADTRAN’s products. ADTRAN’s business model of

having substantial inventory on hand increases the risk of having excess or obsolete inventory

that is unsalable, which requires ADTRAN to write down the value of its inventory, which has

an adverse effect on ADTRAN’s operating results.

         52.      To account for excess and obsolete inventory, the Company establishes E&O

Reserves equal to the difference between the cost of inventory and the estimated fair value of the

inventory based upon assumptions about future demand, market conditions, and life. Disposals

of inventory are charged against the E&O Reserves.

                  b.     ADTRAN’s Sharp Decline in Business from CenturyLink

         53.      As noted above, over the past several years, ADTRAN has faced a major drop in

revenue contribution from its leading North American Tier 1 customer, CenturyLink.




                                                 - 19 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 22 of 77



         54.      Before the second half of 2017, CenturyLink was the largest purchaser of

ADTRAN’s products and had engaged the Company in significant projects, including deploying

ADTRAN’s vectoring solutions across their entire footprint. In turn, CenturyLink alone

contributed 24% of ADTRAN’s total sales in 2016 and nearly 40% in 2017.

         55.      However, in May 2017, CenturyLink bought rival Level 3 Communications, Inc.,

which acquisition was completed on November 1, 2017. After the merger was completed,

CenturyLink commenced a strategic review of its spending and operations, which immediately

caused a downturn in purchases from CenturyLink. In a conversation with reporters, Defendant

Stanton referred to the CenturyLink strategic review as a “holiday surprise,” explaining that after

the Company had gone through three consecutive quarters of record revenue, CenturyLink

abruptly paused its partnership with ADTRAN. Defendant Stanton noted, “That was when the

Level 3-CenturyLink merger happened, and at that point in time we were headlong into a very

large-scale vectoring program with CenturyLink, and all of that kind of got put on hold.”2

         56.      CenturyLink’s strategic review ultimately resulted in vectoring demand moving

from CenturyLink’s entire footprint to a case-by-case basis. While CenturyLink still maintains

business with ADTRAN, both for effective use-cases for vectoring and for CAF-related business,

CenturyLink’s business with ADTRAN has come nowhere close to returning to past levels.

         57.      Indeed, given this customer downsizing, ADTRAN’s total U.S. revenue for 2018

fell a startling 43% from 2017, and total revenue declined over 40% from $639 million in 2017

to $529 million in 2018.




     2
       See “Adtran CEO: CenturyLink Rebuilding Investment After Level 3-Induced Pause,” Channel Partners (Aug.
23, 2018) https://www.channelpartnersonline.com/2018/08/23/adtran-ceo-centurylink-rebuilding-investment-after-
level-3-induced-pause/.



                                                    - 20 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 23 of 77



                  c.     ADTRAN’s Pivot to the International Market

         58.      In the wake of the CenturyLink downsizing, ADTRAN has sought to replace

CenturyLink’s business, as well as significantly diminished business with other Tier 1 U.S.

carriers, with a stronger international exposure. Indeed, by 2018, international sales made up

47% of ADTRAN’s total, an increase of 99% year-over-year.

         59.      One of the principal drivers for ADTRAN’s growth in international sales is

business generated from German telecommunications monolith, Deutsche Telekom. Each year

since 2016, Deutsche Telekom alone has comprised more than 10% of ADTRAN’s annual

revenue. Moreover, the Company has entered into several large infrastructure projects with

Deutsche Telekom. For example, in mid-2017, ADTRAN announced a multi-year project in

which the Company would assist Deutsche Telekom in replacing its existing vectoring

technology with a roll out of super-vectoring which is up to 350-meg speeds. At a February 16,

2018 conference with analysts, Defendant Shannon confirmed that this Deutsche Telekom

project was “a very important project for [ADTRAN].”

         60.      Later, ADTRAN announced that Deutsche Telekom had awarded ADTRAN a

copper-to-the-basement project to commence in 2019 and going forward where ADTRAN would

assist Deutsche Telekom in taking bonded super-vectoring from the node to the basement,

installing ADTRAN’s G.fast DPU in the basement and then go from a super-vectoring feed into

G.fast into multi-dwelling units using installed copper or coax.

         61.      ADTRAN has also benefited from recent contributions from Telmex, a Tier 1

telecommunications company headquartered in Mexico City with operations throughout Latin

America. Although Telmex has been a long-time customer of ADTRAN, between at least 2016

and the latter half of 2018, Telmex had been the subject of antitrust and competition review by

Mexican regulators. As a result of this regulatory uncertainty, Telmex had effectively eliminated


                                                - 21 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 24 of 77



all of its spending and, particularly, capital growth expenditure. However, by the fourth quarter

of 2018, Telmex’s business returned.

         62.      On January 24, 2019, the Company released its fourth quarter 2018 financial

results, in which the Company boasted about strong international revenue growth, particularly

from the Latin America region. On the earnings call that same day with analysts, Defendant

Stanton explain, “I think we’re going to see a little more strength out of Latin America than what

we have seen over the last couple of years. As you know, they’d been through kind of a

regulatory hold, which seems to have unlocked.” Defendant Stanton confirmed that a material

portion of this Latin American business came from its longtime customer in Mexico, Telmex.

         63.      Further, in response to analyst inquiry regarding Telmex’s potential for 2019,

Defendant Stanton confirmed that Telmex had ramped back up and would be a significant

contributor for the balance of the year and beyond, stating:

         So they typically -- as you followed us for a while, they typically buy in chunks
         that are fairly large and they deliver over a period of time. And then there’s
         typically work on the services side associated with that. And I’d say the pattern
         seems similar to that, yet we would expect them to be material this year at this
         point in time. That is not the easiest customer to forecast and they’re very
         demanding on when they do actually decide if they want to do something, so it
         typically accelerates supply chains and things. But the direct answer to your
         question is, we expect them to be a meaningful contributor this year.

         64.      Although ADTRAN’s recent efforts to gain more international exposure has

succeeded, it did not completely offset the loss of business from CenturyLink and other North

American Tier 1 carriers. In particular, in 2018, ADTRAN’s reported sales had declined to

$458.3 million, down 15% year-over-year. Equally important is the fact that large international

customers ADTRAN has wooed wield significant bargaining power, which has caused

significant margin compression. For instance, while ADTRAN’s Deutsche Telekom vectoring




                                                 - 22 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 25 of 77



project holds the promise of a steady revenue stream over the next several years, at the same time

it is a low-margin business.

         65.      These factors, combined with recent costly acquisitions by the Company, caused

the Company to operate at a significant loss in 2018. Specifically, the Company reported an

operating loss of $45.422 million, compared to operating income of $37.386 million in 2017.

Accordingly, it was important for ADTRAN to prove to the market that it could return to

profitability by generating net income and positive earnings per share.

         2.       ADTRAN’s Faulty Systems of Internal Accounting Control for its Inventory

         66.      Unbeknownst to investors, at all relevant times during the Class Period, in

determining the current value of its inventory, ADTRAN relied on an outdated and obsolete

accounting and Enterprise Resource Planning system manufactured by the Baan Corporation,

which ADTRAN employees referred to as “Baan.” Specifically, ADTRAN used Baan product

version 4.0, which was released in approximately 1996, and has been subsequently replaced by

at least ten newer versions of this software by Baan and its successor companies.

         67.      Multiple former ADTRAN employees confirmed the inadequacy of ADTRAN’s

internal inventory accounting system, Baan, and internal controls and process. For example,

CW1 described the Baan software as “clunky and unreliable” and stated that CW1 was aware

that the Company had wanted to update this software for some time, but had failed to do so

because of cost concerns.

         68.      ADTRAN’s Baan inventory management system was so defective that the

Company’s staff was forced to create their own workarounds to the system. According to CW1,

ADTRAN staff would try to update to Baan themselves and create workarounds to get the

information they needed from the system. However, according to CW1 the ADTRAN employee

homegrown fixes were ineffective since the software was so clunky and unreliable.


                                                 - 23 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 26 of 77



         69.      CW2 corroborated CW1’s account regarding Baan’s inadequacies and similarly

stated that the Baan software used by ADTRAN was widely known by Company employees to

be “ancient.” CW2 said although there was talk at ADTRAN about a need to replace it, there

were other systems that were all tied to Baan, such as the Company’s inventory ticketing

software, Remedy, which was also old and outdated.

         70.      ADTRAN’s senior executives knew Baan was inadequate, but refused to invest

sufficient resources in a proper inventory management system since this process would adversely

impact earnings and not raise the Company’s share price. According to CW1, the Company had

been wanting to update Baan for a while with a new systems, but CW1 explained that a new

system was millions of dollars to implement and that the expense of implementing it was not

financially feasible as the Company balanced the demands of meeting sales goals, making

earnings that would please investors, and compensating its employees.

         71.      Defendant Stanton himself admitted to ADTRAN employees the inventory

accounting system was inadequate. CW1 described an ADTRAN employee meeting occurring

in either 2017 or 2018 in which Defendant Stanton met with CW1 and several other ADTRAN

employees at Company headquarters at which Defendant Stanton discussed the need to update

ADTRAN’s accounting system.

         72.      Defendant Stanton took undisclosed steps to address the Company’s problematic

inventory control system. According to CW1, Defendant Stanton created a task force to help

him assess which software program ADTRAN should purchase to replace the antiquated Baan

4.0 system. Defendant Stanton informed CW1 that this team had solicited bids from ERP

software firms for a replacement system and would evaluate which replacement would be most

suitable for the Company. But no change was made during the relevant time period.




                                               - 24 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 27 of 77



         73.      ADTRAN’s preliminary efforts to replace the Baan system were a complete

failure. Consistent with CW1’s account, CW2 said that there were promises from ADTRAN

managers that the company planned to replace Baan. CW2 learned from someone in the

engineering department that the Company bought a new system, which CW2 said cost in excess

of $1 million, which was “woefully inadequate” to handle ADTRAN’s needs. According to

CW2, the Company halted implementing the new system when they saw how it would not work

and went back to the old system, Baan. The engineering employee further told CW2 that the

ADTRAN employee who selected the Baan replacement system had an unethical relationship

with the salesperson who sold the replacement software and consequently was fired as a result of

the conflict of interest.

         74.      ADTRAN’s deficient inventory accounting and control systems were apparent at

the Company’s headquarters. According to CW2, excess old and obsolete inventory was littered

across ADTRAN’s corporate headquarters and was everywhere you looked. CW2 explained that

old routers, switches and other hardware were used as monitor stands, used to prop up other

equipment, stacked in corners, and filled cabinets and shelves.

         75.      By way of example, CW2 explained that toward the end of CW2 tenure (October

2019), CW2 was asked to clean out one testing lab room to move it to a different building. In

that room, there were seven network racks full of equipment. After CW2 sorted out the obsolete

equipment, only two were full. These racks are approximately six feet by three feet wide. The

equipment included items that were so old that CW2 could not even identify them and equipment

that the Company had never used since CW2 had started at the company six years prior. One

example CW2 cited was a piece of equipment referred to as a “3130,” which was a deployment

device for a small office that facilitated an internet connection that CW2 described as a “step




                                               - 25 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 28 of 77



down from ethernet.” CW2 stated that ADTRAN also made a special model of the product

called a “3133” that was made for only one customer, a small regional service provider in the

southwestern United States, that did not have a console port so that customers could not get into

the box. A significant number of this one product, using outdated internet and for a small

customer and with limited capability, were all over the building, filling cabinets and stacked in

corners, according to CW2.

         3.       ADTRAN’s Knowledge of Problems Impacting its Tier 1 Customer Deutsche
                  Telekom

         76.      On or about November 26, 2018, as part of its initiative to have 5G connectivity

across Germany by 2025, German network regulator The Federal Network Agency (German:

Bundesnetzagentur or BNetzA) announced that it would be conducting an auction on fifth-

generation mobile licenses, setting a deadline of January 25, 2019, for submissions and saying

the auction would begin in early 2019. It was widely reported that Germany’s three main

network operators, which included ADTRAN’s most important Tier 1 client, Deutsche Telekom,

would be submitting bids.3

         77.      Significantly, in conference calls with analysts, Defendants noted that it is

Deutsche Telekom’s practice to give spending forecasts to ADTRAN as get towards the end of

the year.

         78.      The conditions of the 5G auction drew very public protests from Germany’s three

network operators, including Deutsche Telekom. Indeed, Deutsche Telekom filed a lawsuit

against Germany’s Federal Network Agency protesting among other conditions, a mandate



    3
       “German regulator sets ball rolling for 5G auctions,” Reuters (Nov. 26, 2018, located at
https://www.reuters.com/article/us-germany-telecoms/german-regulator-sets-ball-rolling-for-5g-auctions-
idUSKCN1NV1KJ.




                                                     - 26 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 29 of 77



require participating operators to commit to providing 5G network coverage covering 98% of

households by 2022 to qualify for the process, arguing that such conditions would dramatically

increase the expense for network providers in developing the next-generation mobile network.4

         79.      Despite Deutsche Telekom’s reservations about the auction process, in annual

report to investors, Deutsche Telekom targeted massive spending in the March 5G spectrum

auction. The target was consistent with security analysts’ projection, who had estimated the

auction would raise €3bn-€5bn.

         80.      On March 15, 2019, media outlets reported that Deutsche Telekom’s (and other

network providers) suit to halt the German 5G auction had failed and the auction would be going

forward on March 19, 2019.5

         81.      On March 19, 2019, Germany launched its 5G mobile spectrum auction with four

companies competing for a total of 41 blocks of spectrum in the 2 GHz and 3.6 GHz bands:

Germany’s three mobile operators – Deutsche Telekom, Vodafone and Telefonica Deutschland,

as well as 1&1 Drillisch, a virtual mobile operator controlled by United Internet.6 Under the

rules of the auction, the auction was conducted in rounds of bids and would continue until no

new bids were received on any of the 41 blocs of spectrum up for sale.

         82.      During the bidding process, Deutsche Telekom was publicly critical of the

auction, claiming its structure artificially created a shortage of spectrum that would force up

costs and leave operators short of cash for future capital expenditures. Deutsche Telekom CEO


    4
       “Deutsche Telekom sues German government over 5G auction: Welt,” Reuters (Jan. 1, 2019), available at
https://www.reuters.com/article/us-deutsche-telekom-auction/deutsche-telekom-sues-german-government-over-5g-
auction-welt-idUSKCN1OV1ND.
    5
     “Deutsche Telekom, Telefónica and Vodafone fail to halt German 5G auction,” Financial Times (Mar. 15,
2019), available at https://www.ft.com/content/af1f0a84-4702-11e9-b168-96a37d002cd3.
     6
       “Germany kicks off 5G spectrum auction,” RCR Wireless News (Mar. 19, 2019), available at
https://www.rcrwireless.com/20190319/5g/germany-kicks-off-5g-spectrum-auction.




                                                    - 27 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 30 of 77



Tim Hoettges was quoted by media outlets on March 28, 2019, as stating, “An artificial shortage

of public resources is being created, which may push up the price. In the end, there is no money

for the build-out.”7 Indeed, by April 10, 2019, it was reported that the total value of the bids

from Deutsche Telekom, Vodafone, Telefónica and Drillisch – the four operators admitted to the

auction, which had gone on for 169 rounds over three weeks — stood at €5.06 billion.8

         83.      On June 13, 2019, after 497 bidding rounds, BNetzA announced the results of its

5G spectrum auction, with Deutsche Telekom winning the most lots in the 2GHz and 3.6GHz

bands. In total, 420MHz was purchased for €6.55 billion. Deutsche Telekom paid the most with

€851.5 million for 40MHz in the 2GHz band and €1.3 billion for 90MHz in the 3.6GHz band.9

         84.      Deutsche Telekom expressed mixed emotions about securing the 5G access given

the excessive costs. “The auction leaves a bitter aftertaste,” Deutsche Telekom CEO Dirk

Woessner said in a statement. “The result is a dampener on our network buildout. Spectrum,

again, is much more expensive in Germany than elsewhere. Network operators now lack the

money to expand their networks.”

         85.      As noted above, CW3 worked as ADTRAN’s Senior Director of MSO sales

(Multiple Systems Operations) from March 2018 until July 2019 and reported directly to

ADTRAN’s Vice President of Sales. Moreover, CW3 had significant industry experience,

working both now and previously with competitors of ADTRAN and as the VP of Sales of North

America for a company acquired by ADTRAN in the areas of business development and acting


     7
       “German 5G auction design could force up spectrum costs: D.Telekom,” Reuters (Mar. 28, 2019), available at
https://uk.reuters.com/article/uk-deutsche-telekom-agm/german-5g-auction-design-could-force-up-spectrum-costs-
d-telekom-idUKKCN1R90XU.
     8
       “Bids in Germany’s 5G spectrum auction pass €5bn,” Financial Times (Apr. 10, 2019), available at
https://www.ft.com/content/6a5b7a98-5b9a-11e9-9dde-7aedca0a081a.
    9
      “Deutsche Telekom, Vodafone, Telefonica Germany, and Drillisch win 5G spectrum,” ZdNet (June 13, 2019),
available at https://www.zdnet.com/article/deutsche-telekom-vodafone-telefonica-germany-and-drillisch-win-5g-
spectrum/.



                                                      - 28 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 31 of 77



as a liaison to Tier 1 communications clients. Now and previously, CW3 has worked closely

with Deutsche Telekom. Based upon CW3’s experience in working with Deutsche Telekom,

CW3 said ADTRAN should have been aware that the launch of 5G had the potential to “be

disruptive” to their forecasts.

         4.       ADTRAN’s Knowledge of Problems Impacting its Tier 1 Customer Telmex

         86.      Deutsche Telekom was not the only major Tier 1 customer with which ADTRAN

was having a problem. Multiple knowledgeable former employees of ADTRAN confirmed that

by early 2019, ADTRAN was also experiencing business disruptions with its major Tier 1 Latin

American customer, Telmex.

         87.      CW4 explained that in late 2018, ADTRAN landed a large project with Telmex

that greatly surpassed previous sales to the Company, which had totaled $10 million for 2018.

According to CW4, the new Telmex project was initially valued at $102 million, although it was

adjusted down 20% to 30% because Telmex had overestimated its need. CW4 said that

Telmex’s total capital spending budget is between $1 billion and $2 billion and ADTRAN was a

small piece of it. However, for ADTRAN, the Telmex account was one of its largest accounts.

         88.      CW4 stated that the project charged ADTRAN with expanding Telmex’s DSL

network, as CW4 said Telmex was “sweating out” its copper network, or maximizing its

efficiency, in lieu of switching to fiber. CW4 said Telmex’s use of copper was not unusual for

the region because of a substantive lower demand on bandwidth in Mexico. Even with copper

technology that was a few steps behind what is being used in the United States or elsewhere, the

residential bandwidth demands in Mexico were at the time about five to 10 mgs per household

and the technology Telmex wanted installed provided for 300 mgs, according to CW4.

         89.      Telmex, however, was left upset with ADTRAN by ADTRAN’s hard-bargain

contract negotiation tactics. CW4, who was directly involved in the “lengthy” negotiations with


                                              - 29 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 32 of 77



Telmex’s head purchasing agent, Consuelo Gomez, stated that when Telmex approached

ADTRAN for the work, Telmex wanted ADTRAN to bundle the installation and product and be

paid upon installation, but ADTRAN refused due to the perceived upfront cost. CW4 stated that

although Telmex would threaten that it had other vendors and would then ask for extra services,

CW4 said ADTRAN did not budge on its insistence to be paid for the hardware upfront. CW4

stated after further negotiations, a deal was reached. CW4 said the purchase order for the work

came in a week before Christmas in 2018 and was valued at $102 million. Approximately three

weeks later, however, Telmex adjusted it down by about 20% to 30% because they had overshot

their number, cutting the contract to about $80 million to $90 million. Based on the hard bargain

ADTRAN had drove, CW4 stated, “I’m sure she (Ms. Gomez of Telmex) was furious signing the

purchase order.”

         90.      ADTRAN’s refusal to provide installation services caused major problems in

execution of the project. According to CW4, Telmex had retained a third-party technician to

handle the installation. CW4 stated that Telmex’s third-party installation technicians were not

installing the devices from ADTRAN fast enough, which was supposed to be at about 500 units

per week, CW4 said. CW4 stated these issues came to the forefront in mid-2019.

         91.      ADTRAN and its management were aware of the third-party technician’s delay in

installing the products. CW4 stated that all throughout 2019, ADTRAN offered to help with the

installations, but the two companies could not agree on a rate to pay for the installation work.

         92.      The slow pace of the third-party technician installing ADTRAN’s products was

not the only issue delaying the progress of the Telmex project. CW4 stated that the installation

delays also occurred because of a need to replace some of the equipment that was installed

during the first half of 2019 and subsequently damaged. CW4 said that during the first half of




                                               - 30 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 33 of 77



2019, Telmex reported to ADTRAN that ADTRAN products were failing in the field. For

example, CW4 said that instead of losing one subscriber, Telmex would lose all that were

connected to the box, which would be 192 subscribers.

         93.      CW4 stated that Telmex’s immediate reaction, specifically Ms. Gomez of

Telmex, was that it blamed the problem on faulty ADTRAN equipment and asked that it be

replaced. CW4, however, said that ADTRAN analyzed the problem and realized that Telmex’s

third-party installation workers were installing them incorrectly and not grounding the hardware.

When electrical storms passed through the area, the equipment was ruined.

         94.      Defendants had direct knowledge of the product damage issues causing the delay

in installation. CW4 said that Defendant Stanton kept updated on all aspects of the work for

Telmex and had a relationship with Ms. Gomez in which Gomez would call Defendant Stanton

directly on his cell phone and go over CW4’s head to try to get things done her way. In fact,

CW4 stated that once CW4 and ADTRAN’s Senior Vice President for Global Sales had flown to

Mexico for a meeting with Ms. Gomez to discuss a Telmex demand that he would not agree to

because of a need to adhere to ADTRAN’s internal margins, but Ms. Gomez refused to see CW4

and the Senior Vice President for Global Sales and instead called Defendant Stanton directly.

         95.      In addition, CW4 participated in regular calls with Telmex representatives,

sometimes as often as every day, which included Defendant Stanton on the call. CW4 said the

attempt to sell Telmex on ADTRAN’s installation services was discussed on these calls and went

on for the whole year (2019).

         96.      CW4 further stated that Defendant Stanton would regularly call CW4 to ask how

things were going with Telmex and asked CW4 to call and report to him about any calls CW4

had with Gomez.




                                                 - 31 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 34 of 77



         97.      Indeed, Defendant Stanton even met personally with Telmex officials to discuss

the project installation issues. CW4 stated that CW4 arranged a business review meeting

sometime between spring and July 2019 with CW4, Defendant Stanton, Ms. Gomez, Telmex’s

CEO Hector Slim, and Telmex’s Chief Technology Officer. CW4 said that ADTRAN prepared

for at least two months in advance of the business review meeting. The business meeting began

with Ms. Gomez alleging it was ADTRAN’s problem because of faulty equipment, but

eventually Telmex executives agreed with ADTRAN’s research that supported the assertion that

the hardware had been installed incorrectly.

         98.      As a result of these discussions, ADTRAN set up a training session for those

installing the work in Guadalajara, Mexico so that the equipment would be properly installed.

However, the repair of the products ruined in the electrical storms further delayed the installation

timeline of the large order.

         99.      CW4 stated that the delay in the installation and damaged parts caused Telmex to

order ADTRAN to pause shipments by summer 2019 so that Telmex could “digest the product”

that Adtran had bought through the first of the year.

B.       Defendants’ False and Misleading Statements During the Class Period

         100.     Throughout the Class Period, Defendants made material misrepresentations and

omitted to disclose material facts concerning the Company’s reported financial results and its

system of accounting internal controls, and also regarding its status with Tier 1 customers

Deutsche Telekom and Telmex.

         101.     The Class Period begins on February 13, 2019, when ADTRAN presented at the

Goldman Sachs Technology & Internet Conference in San Francisco, California. In a dialogue

with Goldman Sachs analyst Roderick B. Hall, Defendant Shannon emphasized the increased

interest ADTRAN was seeing in Europe. Moreover, despite the news of Deutsche Telekom’s


                                                - 32 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 35 of 77



Spectrum bidding, Defendant Shannon assured investors that ADTRAN’s large European Tier 1

customer (Deutsche Telekom) would continue its spending on existing ADTRAN projects and

that business in the European region would remain consistent with 2018 levels.

         Question – Roderick B. Hall: Okay. We talked a little -- we touched on Germany
         a little bit on fixed wireless. I wonder if we could expand to Europe and European
         revenue expectations as you’ve been picking up some Tier 2s there. And what do
         you think happens with revenue in Europe in 2019? I mean, do we see – what’s the
         trajectory?

         Answer – Roger D. Shannon: Well, we certainly saw material international
         growth over the course of 2018. A part of that was the impact of our U.S. Tier 1
         being down in 2018, but we have been very pleased with the growth we had, both
         from our large European Tier 1 and across these new opportunities. So our super-
         vectoring upgrade kind of continued -- certainly continued across 2018, but -- it
         could be the largest year that we had with that customer. That super-vectoring
         rollout will continue over the course of 2019. I don’t expect the large Tier 1
         customer would be at the same level as 2018 just because 2018 was so large. As we
         kind of continue through the super-vectoring -- finish that project up, the next
         initiative there is a project where we’ve been awarded the trial, which is a bonded
         super-vectoring then G.fast into the premises. There’s also their access 4.0 and
         Fiber-to-the-Home as well as potential fixed wireless initiatives, all of which we
         are involved in. But we’re -- what we do see across Europe is, we expect European
         business to be consistent with where we were last year.

         102.     Defendants’ February 13, 2019 statements were materially false and misleading

and omitted material facts. At the time of making the statements, Defendants knew that given

Deutsche Telekom’s significant expected expenditures in the upcoming German 5G Spectrum

action, Deutsche Telekom would have to substantially reduce capital spending on its existing

projects at ADTRAN, including the projects Defendant Shannon referenced at the February 13,

2019 conference, and that normal spending would not resume until at least 2020. As such,

Defendants knew that European business in 2019 would not be consistent with ADTRAN’s

business in 2018.




                                               - 33 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 36 of 77



         103.     Thereafter, on February 28, 2019, ADTRAN filed its annual report on Form 10-K

for the period ended December 31, 2018 (the “2018 Form 10-K”) with the SEC. In the 2018

Form 10-K, ADTRAN described its inventory accounting policies as follows:

                  Inventory

                  We carry our inventory at the lower of cost and net realizable value,
                  with cost being determined using the first-in, first-out method. We
                  use standard costs for material, labor, and manufacturing overhead
                  to value our inventory. Our standard costs are updated on at least a
                  quarterly basis and any variances are expensed in the current period;
                  therefore, our inventory costs approximate actual costs at the end of
                  each reporting period. We write down our inventory for estimated
                  obsolescence or unmarketable inventory by an amount equal to the
                  difference between the cost of inventory and the estimated fair value
                  based upon assumptions about future demand and market
                  conditions. If actual future demand or market conditions are less
                  favorable than those projected by management, we may be required
                  to make additional inventory write-downs. Our reserve for excess
                  and obsolete inventory was $30.0 million and $23.4 million at
                  December 31, 2018 and 2017, respectively. Inventory disposals
                  charged against the reserve were $0.4 million, $8.3 million and $4.7
                  million for the years ended December 31, 2018, 2017 and 2016,
                  respectively.

         104.     This disclosure was materially false and misleading when made because it

omitted to disclose that: (1) that there were material weaknesses in the Company’s internal

control over financial reporting; (2) that, as a result, certain E&O reserves had been improperly

reported; (3) that, as a result, the Company’s financial results (including cost of goods sold, net

income, inventory, assets and net equity) for these periods were misstated.

         105.     The 2018 Form 10-K also included a section entitled “Management’s Report on

Internal Control Over Financial Reporting,” in which the Company disclosed that ADTRAN’s

CEO and CFO had determined that its accounting internal controls were effective as of

December 31, 2018:

                  MANAGEMENT’S REPORT ON INTERNAL CONTROL
                  OVER FINANCIAL REPORTING


                                                 - 34 -
010865-11/1260990 V1
           Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 37 of 77



                  Management of ADTRAN, Inc. is responsible for establishing and
                  maintaining adequate internal control over financial reporting as
                  defined in Rules 13a-15(f) and 15d-15(f) under the Securities
                  Exchange Act of 1934, as amended. ADTRAN’s internal control
                  over financial reporting is designed to provide reasonable assurance
                  regarding the reliability of financial reporting and the preparation of
                  financial statements for external purposes in accordance with
                  generally accepted accounting principles. ADTRAN’s internal
                  control over financial reporting includes those policies and
                  procedures that:

                  • pertain to the maintenance of records that, in reasonable detail,
                  accurately and fairly reflect the transactions and dispositions of the
                  assets of ADTRAN;

                  • provide reasonable assurance that transactions are recorded as
                  necessary to permit preparation of financial statements in
                  accordance with generally accepted accounting principles, and that
                  receipts and expenditures of ADTRAN are being made only in
                  accordance with authorizations of management and directors of
                  ADTRAN; and

                  • provide reasonable assurance regarding prevention or timely
                  detection of unauthorized acquisition, use or disposition of
                  ADTRAN’s assets that could have a material effect on the financial
                  statements.

                  Because of its inherent limitations, internal control over financial
                  reporting may not prevent or detect misstatements. Also, projections
                  of any evaluation of effectiveness to future periods are subject to the
                  risk that controls may become inadequate because of changes in
                  conditions, or that the degree of compliance with the policies or
                  procedures may deteriorate.

                  Management assessed the effectiveness of ADTRAN’s internal
                  control over financial reporting as of December 31, 2018. In making
                  this assessment, management used the criteria set forth by the
                  Committee of Sponsoring Organizations of the Treadway
                  Commission (COSO) in Internal Control-Integrated Framework
                  (2013).     Based on our assessment and those criteria,
                  management has concluded that ADTRAN maintained effective
                  internal control over financial reporting as of December 31,
                  2018. [Emphasis added.][10]



    10
         ADTRAN, Inc. 2018 Form 10-K, p. 94.



                                                  - 35 -
010865-11/1260990 V1
            Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 38 of 77



           106.     Indeed, both Defendants Stanton and Shannon each signed sworn certifications

pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”) that they had personally evaluated the

effectiveness of ADTRAN’s internal controls over financial reporting prior to making the

conclusion noted above.11

           107.     These SOX certifications were materially false and misleading when made

because, as ADTRAN would be forced to later publicly admit, the Company suffered from a

“material weakness” in its internal controls over financial reporting.

           108.     On April 17, 2019, following the close of the market, ADTRAN announced its

reported financial results for the quarter ended March 31, 2019 (“1Q2019”) over the Business

Wire. This press release disclosed, in pertinent part:

                    HUNTSVILLE, Ala.--(BUSINESS WIRE) -- ADTRAN, Inc.
                    (NASDAQ:ADTN) reported results for the first quarter 2019. For
                    the quarter, sales were $143.8 million compared to $120.8 million
                    for the first quarter of 2018. Net income was $0.8 million
                    compared to a net loss of $10.8 million for the first quarter of
                    2018. Earnings per share, assuming dilution, were $0.02 compared
                    to a loss per share of $0.22 for the first quarter of 2018.

           109.     The next day, on April 18, 2019, Defendants hosted an earnings conference call

with analysts to discuss ADTRAN’s first quarter 2019 financial results. On the call, Defendant

Foliano emphasized the Company’s “progress in the first quarter of 2019,” headlined by the

Company’s purported GAAP net income for quarter of $770,000 compared to a loss of $8.4

million last quarter and a loss of $10.8 million for the first quarter of last year, which Defendant

Foliano attributed “to higher sales volumes with higher gross margins in both our products and

services portfolios domestically and internationally and lower operating expenses.” Defendant

Foliano further highlighted the Company’s positive earnings per share on a GAAP basis of $0.02


    11
         Id., Exhibit 31.



                                                  - 36 -
010865-11/1260990 V1
           Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 39 of 77



compared to a loss of $0.18 per share last quarter and a loss of $0.22 per share in the first quarter

of 2018.

         110.     In response to an MKM Partners’ analyst’s question about how the Company

vastly improved gross margins, Defendants Stanton and Foliano falsely attributed the

improvement to “product mix” and “efficiency gains”:

         Answer – Thomas R. Stanton: Yes. Well, I think there’s 2 things. One is product
         mix. So there are certain products, regardless if they’re international or domestic,
         that actually just sell at a higher gross margin than other products. So mix helped
         us some this quarter. And then the other is actually just efficiency gains. I think, the
         -- our factories across the world, when we saw an uptick in that volume, and as you
         get -- although inventories came down, we’re expecting a fairly solid second quarter
         as well. So I think we saw some improvements in efficiency gains that really
         helped. Mike, I can’t think of anything else.

         Answer – Michael K. Foliano: Those are the 2 big things.

         111.     Defendants’ April 18, 2019 statements about ADTRAN’s positive first quarter

2019 financial results and their principal drivers were false and misleading, and omitted material

facts. As ADTRAN would later admit, ADTRAN’s actual first quarter 2019 results were not as

represented, including its purported net income of $770,000, EPS of $0.02, and improved gross

margins. In truth, ADTRAN was inadequately accounting for its inventory E&O reserves, which

the Company ultimately admitted required an $800,000 charge. Accordingly, ADTRAN actually

posted a loss for 1Q 2019 and a negative EPS. Thus, ADTRAN failed to disclose that its

reported profit, positive EPS, and improved gross margins were driven from its improper E&O

Reserve Accounting.

         112.     On the same April 18, 2019 conference call, Defendants emphasized their

international customer revenue of $73.1 million, noting that “key customer infrastructure

projects resulted in nearly 50% of our revenue for the quarter coming from international

markets,” and that the Company “finished the quarter with 3 10%-of-revenue customers located



                                                  - 37 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 40 of 77



in 3 different markets,” including “Lat Am [and] Europe,” “underscoring the impact ADTRAN

is having as we help our customers build their best networks.” Based on these contributions,

Defendant Stanton projected that ADTRAN’s “second quarter 2019 revenue will be in the range

of $154 million to $158 million.”

         113.     After further explained the material contributions the Latin American (i.e.

Telmex) and EMEA markets provided to ADTRAN’s positive first quarter 2019 results,

Goldman Sachs Group Inc., Research Division - Equity Analyst Go Ashwin Kesireddy was

interested in hearing from management “about visibility heading into second half of this year,

particularly in . . Lat Am,” noting “we understand that the customer there is probably a little bit

more lumpy than other customers.” Defendant Stanton, however, quickly dispelled this analyst’s

concern about visibility, stating that Telmex had shared its plans with ADTRAN confirming their

“buildout” and “push for Vectored VDSL and for 35b VDSL,” so much so that second half 2019

sales would exceed the first half with “solid strength through the year”:

         [W]e actually expect it to be up in the second half versus the first half. Lat Am,
         same thing, that we’re going to build out right now with a large customer in Lat
         Am. We have other customers in Lat Am other than that one, but that one is
         definitely oversized compared to the rest. There is ongoing -- there is a push for
         Vectored VDSL and for 35b VDSL. They have shared with us their plans. And
         right now, we’re expecting kind of solid strength through the year with that
         customer.

         114.     Defendant Stanton repeated the same positive refrain about Telmex in an

exchange with an analyst at Cowen and Company, emphasizing the customer’s “clear and strong

plans to increase their broadband,” how ADTRAN was “well-positioned” to meet this demand,

and “good job” ADTRAN was doing in supplying the customer:

         I feel the same way [i.e., “feel good”] about Latin America. That customer -- the
         big customer there has been kind of closed up for a period of time, and they had
         very clear and strong plans to increase their broadband. So I feel good about the
         opportunity there. I’m not saying that we’ve got everything inked down because it's



                                                 - 38 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 41 of 77



         a large customer with a lot of plans, but we’re very well positioned there. And I
         think right now we’re doing a good job.

         115.     Defendants’ statements on this April 18, 2019 conference call concerning its

relationship with Latin American customer Telmex were false and misleading, and omitted

material facts. Though Telmex had in fact shared its plans with Defendants, contrary to

Defendant Stanton those plans did not confirm Telmex’s intent to continue its “buildout” and

“push for Vectored VDSL and for 35b VDSL” with ADTRAN. Similarly, ADTRAN was

neither “well-positioned” to meet Telmex’s demand nor conducting a “good job” on the Telmex

project. As confirmed by CW4, the Telmex project was plagued by a third-party contractor’s

severe delays in product installations as well as improper installations that led to damaged

products or massive product failures. Moreover, as a result of ADTRAN’s refusal to add

installation services onto the Telmex contract, ADTRAN’s relationship with Telmex was

fractured. Accordingly, Defendants had no reason to believe Telmex’s demand for products

would be strong throughout the entire year, but instead knew the Company would have to put a

pause on orders until the installation issue was rectified and Telmex could digest ADTRAN’s

products.

         116.     On this April 18, 2019 conference call, in response to analyst inquiry, Defendant

Stanton affirmed that the Company’s growing revenues with “large historical European

customer” Deutsche Telekom would not only continue but “pick-up” and ADTRAN would see

“more strength” in the second half of 2019:

         Question – Richard Frank Valera: Tom, I’m not sure if you have given an update
         on your large historical European customer, but it sounds like they were strong this
         quarter. But can you give a sense of how you see them for the balance of the year?

         Answer – Thomas R. Stanton: Yes. Actually, it’s going to be a little different this
         year. We’re actually expecting more strength in the second half of the year than in
         the first half. First quarter was not a bad quarter. Second quarter, we kind of see to
         be kind of in line-ish with the first quarter, and then we actually see a little pickup


                                                 - 39 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 42 of 77



         in the third. Fourth is still kind of far out there, but -- I think I answered your
         question.

         117.     Taken back by Defendant Stanton’s comments of ADTRAN “expecting more

strength in the second of the year,” the analyst questioned Defendant Stanton’s positive

statement noting “the traditional kind of falloff in 3Q from [ADTRAN’s] European customers:”

         Question – Richard Frank Valera: Yes. So just you’ve mentioned, I guess, at
         least a couple of customers that -- or engagements you expect to be up in the
         second half versus first. So I’m just wondering if you’d be willing to say anything
         about seasonality relative to the Q2 levels. It sounds like you’re not expecting that
         traditional kind of falloff in 3Q from your European customers, so maybe would
         at least be looking more like flattish sequentially from Q2.

         Answer – Thomas R. Stanton: Yes. From the European customer, you’re
         correct. We have -- at this point in time -- and we typically don’t give guidance
         that far out, but at this point in time, we’re seeing probably an uptick in our
         European customer. We typically see in the U.S. an uptick as well. The -- so those
         2 will be the biggest drivers.

         118.     Defendants’ statements on this April 18, 2019 conference call concerning

Deutsche Telekom were false and misleading, and omitted material facts. At the time of making

the statements, Defendants knew that given Deutsche Telekom’s significant expected

expenditures in the upcoming German 5G Spectrum action, Deutsche Telekom would have to

substantially reduce capital spending on its existing projects at ADTRAN. As such, Defendants

knew that second quarter 2019 sales to Deutsche Telekom would not be “in line” with first

quarter 2019 and that there would not be “more strength” or “an uptick” in business from

Deutsche Telekom in the second half of 2019.

         119.     Defendants’ false representations about the Company’s true financial results and

relationship with Telmex and Deutsche Telekom worked. Analysts were quick to applaud the

Company, as an analyst at MKM remarked, “Strong Start To 2019 w/ All Growth Drivers

Contributing, Improving Margins & Good Visibility,” and also noted “Telmex (TELMEXA

MM, not rated) was a 10+% customer in 1Q19 for the first time in many years. Adtran says it


                                                - 40 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 43 of 77



believes Telmex will be at least as strong in 2H19 as 1H19. DT in Germany was also a 10%

customer in 1Q19, per usual. Adtran says it expects DT (DTE GY, not rated) sales to be higher

in 2H19 than 1H19, which is against the normal seasonal trend at the carrier.” Similarly,

Northland Capital Markets referred to ADTRAN’s Q1 2019 results and outlook as “solid,”

noting that the Company had “reported a surprise profit in Q1, reflecting a solid overall demand

backdrop for copper and fiber bases broadband access technologies both in the US and global,

aided by solid bottom line execution.”

         120.     The market similarly rewarded ADTRAN, as the Company’s share price

increased 10% the next trading day following its unexpected 1Q19 net profit, rising from $15.00

to close at $16.59. Altogether, ADTRAN’s share price was up 35% in 2019 versus 19% for its

peers.

         121.     Defendant Shannon was able to cash-in on the Company’s new-found success, as

on April 23, 2019, Shannon disposed of 5,701 personally held shares at an average price of

$17.65 for $100,597 in gross proceeds. This transaction alone reduced Shannon’s directly

owned shares by 23%. Moreover, Shannon’s timing on this open-market transaction, made

without a 10b-5 plan, was impeccable as he sold the shares after ADTRAN share price had

gained 24% in the past month. The sale was not in line with Shannon’s previous trade history.

Indeed, according to SEC records, Shannon had made no sales of ADTRAN in the previous four

years preceding this transaction.

         122.     On May 7, 2019, the Company filed its quarterly report on Form 10-Q for the

period ended March 31, 2019 (the “1Q2019 Form 10-Q”), affirming the previously reported

financial results. The 1Q2019 Form 10-Q made the following disclosure regarding reserves for

obsolete inventory:




                                               - 41 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 44 of 77



                  We establish reserves for estimated excess, obsolete, or
                  unmarketable inventory equal to the difference between the cost of
                  the inventory and the estimated fair value of the inventory based
                  upon assumptions about future demand and market conditions. At
                  March 31, 2019 and December 31, 2018, raw materials reserves
                  totaled $17.1 million and $17.6 million, respectively, and finished
                  goods inventory reserves totaled $12.8 million and $12.4 million,
                  respectively.

         123.     These disclosures were each materially false and misleading when made because

they omitted to disclose that: (1) that there were material weaknesses in the Company’s internal

control over financial reporting; (2) that, as a result, certain E&O reserves had been improperly

reported; (3) that, as a result, the Company’s financial results (including cost of goods sold, net

income, inventory reserves, assets and net equity) for these periods were misstated by a material

amount.

         124.     On May 16, 2019, ADTRAN presented at the JPMorgan Global Technology,

Media and Communications Conference in Boston, Massachusetts. During the conference, an

analyst at JPMorgan noted the “more of a healthy spending pattern from the Tier 1 service

providers” and asked Defendant Stanton’s impression “of overall business with them and how

you’re thinking about them, their spend through the rest of the year.” In response, Defendant

Stanton suggested this trend would continue at ADTRAN given the “significant build-out” it was

making with ADTRAN’s equipment:

         If I look at the Tier 1s, I expect Tier 1s in the telco space to be up or the carrier
         space to be up just because of some additional things that we’ve added to the
         portfolio and some wins that are fairly new. NBN is an example of that. Telmex,
         the leading -- the major provider in Mexico, has started a significant build-out with
         our equipment. So I would expect carrier space to be up.

         125.     Thereafter, Defendant Stanton emphasized ADTRAN’s international growth,

stating, “And I do expect international to grow even stronger in the second half than in the first




                                                - 42 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 45 of 77



half. So I would say if you look at the Latin America marketplace and Europe, both of those

have kind of good, strong potentials.”

         126.     Defendant Stanton reiterated the continuing growth potential of Mexico through

its client Telmex, stating, “There’s stuff that’s going on in Mexico today. We expand to -- they

have a long catch-up to do. They’ve been frozen for about 3 years now. So that started off this

year as a strong customer. We expect that to carry on.”

         127.     Defendants’ May 16, 2019 statements concerning the Company’s relationship and

prospects with Telmex were false and misleading, and omitted material facts. As confirmed by

CW4, the Telmex project was plagued by a third-party contractor’s severe delays in product

installations as well as improper installations that led to damaged products or massive product

failures – problems about which Defendants were aware. Moreover, as a result of ADTRAN’s

refusal to add installation services onto the Telmex contract, ADTRAN’s relationship with

Telmex was fractured. Accordingly, Defendants had no reason to believe Telmex’s sales would

continue to grow or that it would carry on as a strong customer of ADTRAN.

         128.     Analysts took note of the Company’s statements concerning its large Tier 1

international clients. For example, in a June 3, 2019 report, Jeffries offered a “bull case”

scenario for ADTRAN’s stock, noting the “New Project Opportunities & a Set-up for 2H’19

strength.” The report stated, “The bull case argues that the organization is set up for some nice

growth over the balance of the year. . . . Telmex seems to be deploying very strongly. They

expect that their business at both accounts – NBN and Telmex – to be up in 2H’19 versus

1H’19. . . . Also, they expect the Deutsche Telekom business to improve going forward. Overall,

they have a lot of customer activity that’s expected to grow over the course of the year.”




                                                - 43 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 46 of 77



         129.     Following the close of the market on July 17, 2019, ADTRAN issued a press

release announcing “preliminary” earnings for second quarter 2019. These reported financial

results were designated as “preliminary” due to the surprising disclosure of ADTRAN’s

investigation into its accounting for inventory reserves and possible internal control deficiencies:

                  Preliminary Financial Results

                  The Company’s reported results for the quarter and year to date
                  ended June 30, 2019 are preliminary due to the Company’s ongoing
                  assessment of the reasonableness of its current and previously
                  reported excess and obsolete inventory reserves (“E&O reserves”).
                  The Company is working diligently to finalize its assessment and
                  evaluate the materiality of adjustments to the reserve, if any, and
                  determine the appropriate method of correction to its current and
                  previously reported financial results, as necessary. In addition to
                  assessing the reasonableness of its E&O reserves, the Company is
                  also assessing inventory related internal control deficiencies which
                  may result in the identification of material weaknesses. If material
                  changes to our preliminary results do occur, an updated press release
                  will be issued.

         130.     The same day, the Company held a conference call to discuss its second quarter

2019 results. On the call, Defendant Foliano was immediately asked by analysts to provide

further explanation for the impetus for the Company’s assessment of the reasonableness of its

current and previously reported E&O reserves:

         Question – Ashwin Kesireddy, Goldman Sachs Group Inc., Research
         Division - Equity Analyst: This is Ashwin on behalf of Rod. I was wondering if
         you could comment further on the internal control deficiencies you're currently
         assessing. Any sort of comments on what triggered the process, and your worst-
         case expectations? I guess what I’m trying to understand is whether or not this
         could result in just like onetime impact or are we talking about some potential
         structural cost increases? And then I have a follow-up.

         Answer – Michael K. Foliano: Okay. Ashwin, this is Michael. Let me start with
         just a little bit of background. For quite a while here, we’ve used a fairly detailed
         method and a tool to develop our excess and obsolete inventory reserves. It looks
         at more than 20,000 SKUs that we use throughout the business, everything from
         raw materials through all of our finished goods. And on a realtime basis, it
         calculates what we believe that the reserve for that inventory to be that would
         bring it back to net realizable value. What that tool actually requires because it is


                                                  - 44 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 47 of 77



         fairly complicated is a significant number of inputs. When we went back and
         looked at the inputs, we did not have on all of those inputs the validation level
         that may have been necessary to make sure that all of those were exactly
         right. Now the output of the tool is a reserve at a high level for all of our
         inventories. And we believe by looking at what we’ve seen out in the market for
         other companies in our space that, that reserve is reasonable. But we are not
         certain at this time as we simplify the tool and move to a process that is much
         more like what other companies do, that there won’t be some fluctuations in the
         inventory value. So that's kind of the background on it. And I think your other
         question was around whether or not it would be a long-term issue versus just a
         onetime. I don’t see the amount that would be reserved in any period changing
         significantly from what we’ve seen in the past.

         131.     On the call, Defendants explained that the Company had slashed projected

revenues the next quarter to $130-$150 million. Specifically, Defendants Foliano stated, “Our

current expectations include the effect of a temporary slowdown in capital spending for access at

a Tier 1 European carrier customer. We have been informed that normal spending will resume at

the beginning of 2020. As the full effect of this slowdown has not yet been determined, we have

widened the range of our current revenue expectations to accommodate this variability.”

         132.     Nevertheless, Defendants attempted to mitigate investors’ concerns by touting the

continued perceived demand from the Company’s 10% revenue customer in Latin America,

Telmex. For example, during the call, an analysis questioned Defendant Stanton about the

Company’s Tier 1 Latin American customer (Telmex) plans for purchasing in future quarters. In

response, Defendant Stanton affirmed Telmex’s demand for ADTRAN’s products and

ADTARN’s consistency in meeting their demand and specified timelines:

         Question – Richard Frank Valera, Needham & Company, LLC: . . . So your
         Latin American customer, it looks like they’ve been strong now for a couple of
         quarters in a row. And it didn’t sound like there was anything in your comments to
         suggest they’re slowing. But can you give us any sense of how things look in Latin
         America for the second half of this year? And any sense at all you have of the
         continuity of that since they kind of turned on recently, but have been historically
         kind of an on and off customer?

         Answer – Thomas R. Stanton: Well, our history with that customer would tell
         you that they are different in the way that they plan their demand, but they have a


                                                - 45 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 48 of 77



         goal of -- a specific goal of VDSL Vectored footprint expansion. I would tell you
         they are not to that goal. They have to buy significantly more amount of material
         in order to meet that, which is their first phase goal. So we’re just continuing to
         operate with them and try to meet their demand and their time lines and things like
         that.

          133. Defendants’ July 17, 2019 statements concerning the Company’s relationship and

 prospects with Telmex were false and misleading, and omitted material facts. As confirmed by

 CW4, the Telmex project was plagued by a third-party contractor’s severe delays in product

 installations, as well as improper installations that led to damaged products or massive product

 failures. Moreover, as a result of ADTRAN’s refusal to add installation services onto the

 Telmex contract, ADTRAN’s relationship with Telmex was fractured. Having spoken directly

 on the subject of Telmex, its demand, and ADTRAN work in meeting Telmex’s demand and

 timelines, Defendants were duty bound to disclose this news.

          134. After the call, at least one analyst questioned the Company’s statements

 concerning Telmex’s purported demand and whether ADTRAN’s dim prospects in Q3 2019

 were limited to the spending slowdown at ADTRAN’s Tier 1 European client, Deutsche

 Telekom. In a July 18, 2019 report, analysts at Jeffries questioned, “Is it Just Deutsche

 Telekom?” The analyst noted Defendants’ previous statements that “they expected their

 business at Telmex to be up in 2H’19 versus 1H’19.” But with the “disappointing” Q3 2019

 guidance, the Jeffries analyst concluded, “It seems that projects at NBN, Telmex, CenturyLink,

 and the Cable MSOs aren’t back-filling for the softer DT spending.”

          135. On this news, the Company’s share price fell $3.69 per share, over 23%, to close

 at $12.13 per share on July 18, 2019, thereby injuring investors.

          136. ADTRAN shares fell for a second straight session on Friday, July 19, 2019,

 building on the previous day’s 23% plummet as analysts continued to digest the company’s

 recent results and outlook. At least two firms cut their price targets, citing the impact of a major


                                               - 46 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 49 of 77



 customer’s lower spending. For example, Needham reportedly cut expectations for both

 ADTRAN’s earnings and revenue, for both 2019 and 2020, citing “uncertainty around the

 timing and magnitude of a rebound in DT spending,” a reference to Deutsche Telecom.

 Similarly, Cowen reportedly stated that there was now a “lack of visibility as to meaningful

 sustained improvement” at ADTRAN.

          137. Analysts were also disturbed by the Company’s disclosure of its E&O inventory

 reserve review. For example, in July 19, 2019 report to clients, analysts at MKM Partners

 remarked, “[ADTRAN’ has become a show-me story because . . . Its accounting practices to

 determine excess and obsolete inventory reserves are under review and there could be

 restatements.” Similarly, in July 19, 2019 research report, analysts at Argus concluded, “The

 slowdown in business with a major European customer, and the reexamination of E&O

 reserves, underscore the risks in Adtran’s go-to-market model.”

          138. On this news, the Company’s share price fell $0.60 per share, or 5%, to close at

 $11.53 per share on July 19, 2019, thereby injuring investors.

         139.     On August 12, 2019, the Company filed Form 12b-25 with the SEC in which it

disclosed that ADTRAN confirmed its earlier disclosures regarding its internal accounting

controls, admitting that certain “material weaknesses” existed in its internal control over

financial reporting that may have resulted in a misstatement of E&O reserves in previous

accounting periods that would prevent the Company from timely filing its quarterly report for the

second quarter of 2019 with the SEC:

                  On August 8, 2019, subsequent to the issuance of the Company’s
                  Annual Report on Form 10-K for the year ended December 31, 2018
                  (“2018 Form 10-K”), the Company’s management, in consultation
                  with the Audit Committee of the Board of Directors, concluded that
                  there were two material weaknesses related to internal control
                  deficiencies that existed as of December 31, 2018 and that



                                                - 47 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 50 of 77



                  continued through the end of the second quarter of 2019.
                  Specifically, the Company’s management has determined that the
                  Company did not, as of December 31, 2018 and through June 30,
                  2019, design and maintain effective internal control over certain
                  aspects of its valuation and existence of inventory. As a result,
                  Management’s Report on Internal Control Over Financial Reporting
                  included in Item 9A of the 2018 Form 10-K and the opinion of
                  PricewaterhouseCoopers LLP (“PwC”) relating to the effectiveness
                  of the Company’s internal control over financial reporting as of
                  December 31, 2018 included in the 2018 Form 10-K should no
                  longer be relied upon. Additionally, the statements within
                  “Evaluation of disclosure controls and procedures” included in Part
                  II, Item 9A of the 2018 Form 10-K regarding the effectiveness of
                  the Company’s disclosure controls and procedures for the period
                  presented are no longer accurate due to the material weaknesses
                  described above. The Company has determined to prepare and file
                  an amendment to the 2018 Form 10-K (the “Form 10-K/A”) in order
                  to address the material weaknesses and related disclosures.

                  Although the identified material weaknesses did result in a
                  misstatement of the Company’s previously reported E&O Reserves,
                  management of the Company currently believes that such
                  misstatements did not result in a material misstatement of the
                  Company’s previously issued financial statements. However, the
                  Company has not yet completed its assessment and, therefore, is
                  unable to affirmatively conclude at this time that the completion
                  of such assessment will not result in a material misstatement of
                  its previously issued financial statements or that the out-of-period
                  correction of such misstatement would not be material to the
                  Company’s financial results for the three and six months ended June
                  30, 2019 or forecasted 2019 financial results. [Emphasis added.]

         140.     On September 20, 2019, the Company filed its amended 2018 annual report on

Form 10K/A with the SEC. This Form 10K/A stated the following about the Company’s internal

controls:

                  Material Weaknesses

                  On August 8, 2019, the Company’s management, in consultation
                  with the Audit Committee of the Board of Directors, concluded that
                  there were two material weaknesses related to internal control
                  deficiencies that existed as of December 31, 2018 and that continued
                  through the end of the second quarter of 2019. Specifically, the
                  Company’s management determined that the Company did not



                                                 - 48 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 51 of 77



                  design and maintain effective internal control over certain aspects
                  of the existence and valuation of inventory:

                  • Management determined that controls were not effectively
                  designed, documented, and maintained to verify that the existence
                  of all inventories subject to our cycle count program were included
                  and counted at the frequency required under the Company’s internal
                  policies, and that the key reports and related data used to monitor
                  the results of this program were not validated to ensure
                  completeness and accuracy.

                  • Management determined that controls were not effectively
                  designed and maintained over the determination of the estimated
                  reserve for excess and obsolete inventory including the review of
                  significant inputs and assumptions used to determine our estimated
                  excess and obsolete inventory reserve, and to ensure the
                  completeness and accuracy of key reports and related data used in
                  the calculation of this reserve.

                  Despite the existence of these material weaknesses, we believe that
                  the consolidated financial statements included in the Original Filing
                  present fairly, in all material respects, our financial position, results
                  of operations, and cash flows for the periods presented, in
                  conformity with accounting principles generally accepted in the
                  United States of America.

         141.     On September 20, 2019, the Company also filed its quarterly report for the second

quarter 2019 (ended June 30, 2019) on Form 10-Q with the SEC. This Form 10-Q confirmed the

previously disclosed accounting and control issues, and quantified the amount of understated

reserves that had been wrongfully excluded from the Company’s previously reported first quarter

2019 financial results:

                  Correction of Immaterial Misstatements.

                  During the three months ended June 30, 2019, the Company
                  determined that there was an immaterial misstatement of its excess
                  and obsolete inventory reserves in its previously issued annual and
                  interim financial statements. The Company corrected this
                  misstatement by recognizing a $0.8 million out-of-period
                  adjustment during the three months ended June 30, 2019, which
                  increased its excess and obsolete inventory reserve and cost of goods
                  sold for the period. For the six months ended June 30, 2019, the out-
                  of-period adjustment was a cumulative $0.2 million reduction in its



                                                   - 49 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 52 of 77



                  excess and obsolete inventory reserve and cost of goods sold. In
                  addition, the Company determined that a $1.0 million cash inflow
                  related to an insurance recovery was incorrectly classified as a cash
                  flow from operations instead of a cash flow from investing activities
                  within the unaudited Condensed Consolidated Statement of Cash
                  Flows for the three months ended March 31, 2019. The
                  accompanying Unaudited Condensed Consolidated Statement of
                  Cash Flows for the six months ended June 30, 2019 correctly reflects
                  the $1.0 million insurance recovery as a cash inflow from investing
                  activities. Management has determined that these misstatements
                  were not material to any of its previously issued financial statements
                  and that correction of the misstatements is also not material to the
                  current or estimated annual 2019 financial results on both a
                  quantitative and qualitative basis.

         142.     While ADTRAN characterized the ultimate $800,000 adjustment to inventory

reserves as to the Company’s overall financial position, the adjustment had a significant impact

on key metrics important to investors, such as operating income and earnings per share. For

example, in Q1 2019, the Company had operating income of only $770K and had an EPS of only

$.03. Had the Company properly accounted for E&O reserves, the Company would have been

unprofitable and posted a negative EPS for Q1, the last quarter reported before the admission of

material weakness and inability to file their financials on time. This conclusion is further

bolstered by ADTRAN’s restated results for Q-2 2019, when the Company took the out of period

adjustment. In particular, ADTRAN reduced its previously reported operating income from

$1.821 million to $562,000, or by nearly 70%, and decreased earnings per share from $0.11 to

$0.08 (or 27%).

         143.     On October 9, 2019, following the close of the market, the Company announced

“preliminary” estimates of certain financial results for the third quarter ended September 30,

2019. Specifically, the Company lowered its third quarter revenue and non-GAAP EPS

estimates to $114mn and $0.06, respectively, from previous revenue guidance of $130mn-

$150mn and consensus EPS at $0.03. The Company further disclosed that it expected fourth



                                                  - 50 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 53 of 77



quarter 2019 revenues to be flat to slightly down sequentially. The Company explained the

reason for the release of the preliminary results and dismal outlook was that its “revenue this

quarter has been significantly impacted by a pause in shipments to a Tier 1 customer in Latin

America and the continued slowdown in the spending at an international Tier 1 customer,” as

well as a further slowdown in orders from Deutsche Telekom. The press release announcing

preliminary third quarter 2019 financial results, the Company stated, in relevant part:

                  Based upon preliminary information, revenue for the quarter is
                  expected to be approximately $114 million. Earnings per share for
                  the quarter, assuming dilution, is expected to be a loss of
                  approximately $0.96. Non-GAAP earnings per share for the quarter,
                  assuming dilution, is expected to be a loss of approximately $0.06.
                  Earnings per share is expected to be affected by a one-time, non-
                  cash, valuation allowance of approximately $37 million, that will be
                  recorded to income tax expense in the Company’s consolidated
                  income statement to reduce the carrying value of the Company’s
                  deferred tax assets.

                  ADTRAN Chief Executive Officer Tom Stanton stated, “Our
                  revenue this quarter has been significantly impacted by a pause in
                  shipments to a Tier 1 customer in Latin America and the continued
                  slowdown in the spending at an international Tier 1 customer. With
                  the exception of these two large customers, revenues generated from
                  the rest of our business grew 20% over the previous quarter.
                  Although we expect our Latin American customer sales to rebound,
                  our current visibility regarding timing is limited. For the
                  international Tier 1 customer, we expect that sales should resume
                  with the new capital cycle in 2020.”

                  Our current expectation for revenue for the fourth quarter of 2019,
                  is that it will be flat to slightly down from the third quarter.
                  Additionally, we plan for our non-GAAP operating expenses during
                  the fourth quarter to be approximately 10% below our second
                  quarter non-GAAP expense rate.

         144.     Analysts immediately reacted to the Company’s disclosure of the preliminary

estimates. For example, in an October 9, 2019 report, MKM Partners downgraded its rating of

ADTRAN from “Buy” to “Neutral,” stating “ADTN was already a show me story after 2Q19

earnings when it said DT spending was slowing for the back half of the year. Now, with another


                                                 - 51 -
010865-11/1260990 V1
           Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 54 of 77



big downtick at another 10% customer, we think many investors may stay on the sidelines for

longer.”

         145.     On this news, the Company’s share price fell $2.10 per share, over 19%, to close

at $8.81 per share on October 10, 2019, on unusually high trading volume. Nevertheless, as

explained in further detail below, the Company had not yet fully revealed the fraud and artificial

inflation remained in ADTRAN’s share price.

         146.     On October 16, 2019, just two weeks before ADTRAN was scheduled to host an

earnings call to discuss its anticipated disappointing third quarter 2019 financial results and

address questions from market analysts, Defendant Shannon sold 6,200 ADTRAN shares, or

about one-third his personally held shares, at $9.71 for total proceeds of $60,227.

         147.     On October 31, 2019, the market learned the full extent of Defendants’ fraud.

After releasing third quarter financial results in line with its October 9, 2019 preliminary

estimates, ADTRAN hosted an earnings call. In response to analyst inquiry, Defendant Stanton

provided further color on the reason for the pause in shipments to Telmex, noting that the

downturn stemmed from a lack of visibility or insight into Telmex’s ordering patterns and

current inventory:

                  There’s still a little bit of cloud in us about and (sic) Latin America,
                  there is a multi-year project going on and we expect that to continue
                  on through next year at least.

                  Our problem with that customer has been the variability in ordering
                  pattern in inventory levels that of course plagued us this last quarter,
                  but that doesn’t at all change the trajectory of the program itself.

                  ...

                  I have visibility to plans and so there are fairly vocal about what it
                  is they are wanting to do on a macro level down to a number of
                  ports. The visibility, where the visibility gets more difficult is timing
                  of purchase orders. So they may draw down their inventory before
                  they order. Sometimes they don’t draw down their inventory before


                                                   - 52 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 55 of 77



                  the order, so it’s not about the macro level on a kind of on a broader
                  time basis. The issues we have with them are typically more around
                  individual quarter by quarter plans.

         148.     An analyst at Jeffries followed up on Stanton’s commentary about the Latin

American customer, noting “obviously, the step down was pretty significant from June to

September.” In response, Stanton again referred to Telmex’s inventory build-up and contract

negotiations regarding installing and moving forward with Telmex’s network build plan:

                  Latin America is similar big drop from Q2 to Q3 that is more about
                  ordering inventory levels and contract negotiations and just for that
                  customer. Then it is about any demand profile change at all. They
                  are still absolutely going out and installed in these things and
                  moving forward their network build plan.

         149.     Analysts regarded the Company’s disclosures as new and material information

and were largely able to piece together the installation problem at the Telmex project. For

example, in November 1, 2019 report, analysts at Jeffries stated, “As with last quarter,

management noted that they’ll have a better view into DT’s spending plans at some point during

Q4 as they’ll get a forecast for next year. The Telmex situation is a bit more difficult to

handicap. Adtran noted that it’s difficult to get insight into their ordering patterns and current

inventory levels. It’s likely they had built up an inventory of Adtran equipment.”

         150.     In response to the truth regarding the problems at the Telmex project finally being

revealed, ADTRAN’s share price declined from a closing price of $9.58 on October 30, 2019, to

a closing price of $8.81 on October 31, 2019 – a loss of $0.77 per share (more than 8%).

C.       ADTRAN’s Financial Statements Failed to Comply with GAAP

         151.     At all relevant times, Defendants represented that ADTRAN’s financial

statements were prepared and issued in conformity with GAAP, which are recognized by the

accounting profession and the SEC as the set of conventions, rules and procedures which

constitute the professional standards of the accounting profession. Regulation S-X (17 C.F.R. §


                                                  - 53 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 56 of 77



210.4-01(a)(1)) provides that financial statements filed with the SEC which are not prepared in

compliance with GAAP are presumed to be misleading or inaccurate.

         152.     These improper accounting practices and manipulations were in direct violation of

GAAP and SEC rules, as described below, and resulted in materially overstated financial results

for the quarter ended March 31, 2019.

         153.     ADTRAN’s press release announcing its Q2019 financial results, as well as the

financial statements contained in its 1Q2019 Form 10-Q filed with the SEC contained financial

information presented in a manner that violated GAAP, including the following principles:

         a.       The principle that “interim financial reporting should be based upon the same

accounting principles and practices used to prepare annual financial statements” was violated

(APB No. 28, ¶10);

         b.       The principle that “financial reporting should provide information that is useful to

present to potential investors and creditors and other users in making rational investment, credit,

and similar decisions” was violated (FASB Statement of Concepts No. 1, ¶34);

         c.       The principle that “financial reporting should provide information about the

economic resources of an enterprise, the claims to those resources, and effects of transactions,

events, and circumstances that change resources and claims to those resources” was violated

(FASB Statement of Concepts No. 1, ¶40);

         d.       The principle that “financial reporting should provide information about an

enterprise’s financial performance during a period” was violated (FASB Statement of Concepts

No. 1, ¶42);

         e.       The principle that “financial reporting should provide information about how

management of an enterprise has discharged its stewardship responsibility to owners




                                                 - 54 -
010865-11/1260990 V1
            Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 57 of 77



(stockholders) for the use of enterprise resources entrusted to it” was violated (FASB Statement

of Concepts No. 1, ¶50);

           f.      The principle that “financial reporting should be reliable in that it represents what

it purports to represent” was violated (FASB Statement of Concepts No. 2, ¶¶ 58-59);

           g.      The principle that “completeness, meaning that nothing is left out of the

information that may be necessary to insure that it validly represents underlying events and

conditions” was violated (FASB Statement of Concepts No. 2, ¶79); and

           h.      The principle that “conservatism be used as a prudent reaction to uncertainty to

try to ensure that uncertainties and risks inherent in business situations are adequately

considered” was violated (FASB Statement of Concepts No. 2, ¶95).

           154.    In addition, ADTRAN’s accounting and financial reporting for 1Q2019 violated

ASC 45012, which requires that a loss contingency associated with obsolete inventory “shall be

accrued by a charge to income,” thereby reducing earnings by an equal amount in the current

period. Such a charge shall be taken if: (i) [information available prior to issuance of the

financial statements indicated that it is probable that an asset had been impaired or a liability had

been incurred at the date of the financial statements; and (ii) the amount of the loss can be

reasonably estimated. ASC 450-25-2. Even if the loss cannot be considered “probable” as of the

measurement date, GAAP requires that financial statements disclose contingencies when it is at

least reasonably possible (i.e., anything greater than a slight chance) that a loss may have been

incurred. ASC 450-50-3. The disclosure shall indicate the nature of the contingency and shall

give an estimate of the possible loss, a range of loss or state that such an estimate cannot be

made. ASC 450-50-4.


    12
         Accounting Standards Codification (“ASC”) 450, Contingencies, Financial Accounting Standards Board.



                                                      - 55 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 58 of 77



         155.     Indeed, ADTRAN’s own reported accounting policies promised that inventory

would be expensed in the period in which it becomes obsolete:

                  Inventory

                  Inventory is carried at the lower of cost and net realizable value,
                  with cost being determined using the first-in, first-out method.
                  Standard costs for material, labor and manufacturing overhead are
                  used to value inventory. Standard costs are updated at least
                  quarterly; therefore, inventory costs approximate actual costs at the
                  end of each reporting period. We establish reserves for estimated
                  excess, obsolete or unmarketable inventory equal to the difference
                  between the cost of the inventory and the estimated fair value of the
                  inventory based upon assumptions about future demand, market
                  conditions and life. When we dispose of excess and obsolete
                  inventories, the related disposals are charged against the inventory
                  reserve.

         156.     ADTRAN violated GAAP (ASC 450) and its own stated accounting policies by

failing to write its obsolete inventory down to its fair market value as of March 31, 2019, thus

understating reported E&O reserves and cost of goods sold and overstating income by

approximately $1 million in its reported 1Q2019 financial results.

D.       Loss Causation

         157.     Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic losses suffered by Plaintiffs and the Class.

         158.     Throughout the Class Period, as set forth above, the market price of ADTRAN

securities was inflated by the material omissions and false and misleading statements made by

the Company and the Individual Defendants, which were widely disseminated to the securities

markets, investment analysts and the investing public. The false and misleading statements

materially misrepresented to the market the Company’s financial results and future prospects,

and caused ADTRAN securities to trade at prices in excess of their true value.




                                                 - 56 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 59 of 77



         159.     As a result, Lead Plaintiffs purchased ADTRAN securities at artificially inflated

prices. When the truth about ADTRAN’s financial results and prospects was revealed to the

market through several partial disclosures, the price of ADTRAN securities declined in response,

as the artificial inflation caused by Defendants’ misrepresentations and omissions was removed

from the price of ADTRAN securities, thereby causing substantial damages to the Lead Plaintiffs

and the Class.

         160.     Immediately prior to the Class Period, ADTRAN shares closed trading at $14.58

per share on February 12, 2019.

         161.     With the market unaware of ADTRAN’s undisclosed material weaknesses in

internal control, ADTRAN continued trading in a range between $13.58 and $15.30, closing

trading at $14.08 per share on April 17, 2019.

         162.     When ADTRAN announced its materially false financial results for 1Q2019 after

the close of business on April 17, 2019, its shares closed trading the next day on April 18, 2019,

at $16.05 – a gain of approximately 14%.

         163.     With the market unaware of the falsity of the 1Q2019 reported financial results or

the undisclosed weaknesses in ADTRAN’s internal controls, the Company’s stock continued to

close trading each day between April 22, 2019 and July 17, 2019 between $14.78 and $17.20 per

share, closing trading at $15.39 on July 17, 2019.

         164.     After the close of trading on July 17, 2019, ADTRAN announced financial results

for the quarter ended June 30, 2019, but cautioned that these strong reported results were only

“preliminary” because the Company was investigating possible weaknesses in its accounting

controls that may have led to a misstatement of inventory reserves in previously reported

accounting periods. Additionally, the Company disclosed on a July 18, 2019 conference call that




                                                 - 57 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 60 of 77



estimated third quarter 2019 revenues had been adjusted down in the range of $130 million to

$150 million due to “a temporary slowdown in capital spending for access at a Tier 1 European

carrier customer,” which analysts immediately identified as Deutsche Telekom. These

disturbing disclosures caused ADTRAN shares to drop significantly to close at $11.80 on July

18, 2019. – a loss of more than 23% from the closing price of $15.39 on July 17, 2019.

         165.     After the close of trading on July 18, 2019, analysts published reports providing

new and material information concerning the implications of the Company’s recent

financial results, outlook and disclosures, including challenging Defendants’ statements

regarding Telmex’s purported demand for ADTRAN’s products. These disclosures caused the

Company’s share price to fall $0.60 per share, or 5%, to close at $11.53 per share on July 19,

2019.

          166. ADTRAN shares continued trading in a range between $9.90 and $11.47 for the

next three months, closing trading at $10.70 on October 9, 2019. Following the close of trading

on October 9, 2019, ADTRAN disclosed disappointing “preliminary” estimated earnings for the

third quarter of 2019, including that “revenue for the quarter is expected to be approximately

$114 million.” The Company stated that “[o]ur revenue this quarter has been significantly

impacted by a pause in shipments to a Tier 1 customer in Latin America and the continued

slowdown in the spending at an international Tier 1 customer.” The Company further disclosed

reduced projected fourth quarter 2019 revenue, stating “[o]ur current expectation for revenue for

the fourth quarter of 2019, is that it will be flat to slightly down from the third quarter.” In

response, ADTRAN shares dropped significantly to close trading at $8.64 on October 10, 2019 –

a loss of $2.06 (19.25%) from the previous day’s closing price.




                                                 - 58 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 61 of 77



         167.     ADTRAN shares continued to trade at a similar price the next few weeks, closing

trading each day at prices between $8.86 per share and $9.31 per share, closing trading at $9.39

per share on October 30, 2019.

          168.    On October 31, 2019, ADTRAN hosted an earnings call for the third quarter of

2019, and provided the true reason for the pause in shipments to Telmex, including Telmex’s

build-up of ADTRAN inventory and contract negotiations stemming from their installation. In

response, ADTRAN shares dropped $0.77 per share to close trading at $8.881 per share on

October 31, 2019 – a decline of more than 8.0%.

E.       Additional Scienter Allegations

         169.     Numerous facts, in addition to those set forth above, give rise to a strong

inference that Defendants knew, or were deliberately reckless in not knowing, that their

inventory accounting for ADTRAN and statements about ADTRAN’s relationship with its major

Tier 1 international customers were false and misleading or omitted material facts necessary to

make them not misleading when made. Such facts include, but are not limited to, the following.

         170.     Defendants’ admissions to their colleagues regarding the inadequacy of

ADTRAN’s inventory accounting systems support of a strong inference of scienter. The

Executive Defendants admitted the deficiencies in ADTRAN’s inventory accounting systems to

subordinates well in advance of publicly disclosing the internal control deficiencies. For

example, in 2017 or 2018, Defendant Stanton met with the members in the pricing group and the

pricing manager at Company headquarters, during which Defendant Stanton discussed the need

to update the Baan system and how it had been something the Company needed to do for a

while. Defendant Stanton further admitted to the group that ADTRAN had solicited bids from a

few different companies and would evaluate which one to select. Nevertheless, Defendants

never upgraded the Baan system due to financial reasons.


                                                  - 59 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 62 of 77



         171.     Defendants took undisclosed steps that show their knowledge of the significant

deficiencies in ADTRAN’s inventory accounting systems. At the same time Defendants were

affirming the accuracy of their reported inventory amounts and the adequacy of internal controls

over financial reporting, the Company was secretly working for years to obtain a new inventory

accounting system to replace the defective Baan platform. In particular, in or around 2017 or

2018, Defendant Stanton had created a task force, which included CW1’s supervisor, to help

Defendant Stanton determine the best ERP system to use. Indeed, ADTRAN had solicited bids

from a few different companies and would evaluate which one to choose. Moreover,

unbeknownst to investors, the Company bought a new system, which cost in excess of $1

million, but it was later determined to be “woefully inadequate” to handle ADTRAN’s needs.

Specifically, the Company halted implementing it when they saw how it would not work and

went back to the old Baan system.

         172.     The significant deficiencies in ADTRAN’s inventory accounting system was

widely known at ADTRAN and its adverse implications were apparent. It was widely agreed

among ADTRAN employees that ADTRAN was using an outdated inventory system, which

“basically had been around before email started.” ADTRAN’s software to track its inventory,

called Baan, was widely known by company employees to be “ancient.” Indeed, ADTRAN staff

would try to update their systems and create workarounds to get the information they needed

from the system, but that the Baan software was clunky and unreliable. According to numerous

former employees, there was talk around ADTRAN about a need to replace Baan and promises

from managers that the Company planned to replace Baan. As a result of the deficient inventory

controls, excess old and obsolete inventory littered ADTRAN corporate headquarters

everywhere one looked, including old routers, switches and other hardware that were used as




                                               - 60 -
010865-11/1260990 V1
           Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 63 of 77



monitor stands, used to prop up other equipment, stacked in corners, and filled cabinets and

shelves.

         173.     The fundamental inventory accounting principle at issue is straightforward and

was known by Defendants. As explained in detail above, the fundamental accounting principle

at issue in this case is a straightforward GAAP principle and a represented accounting policy of

ADTRAN. Further, Defendants Stanton, Shannon, and Foliano have decades of professional

experience in accounting and finance and would understand this concept. Moreover, ADTRAN

employed many other experts and highly qualified personnel in accounting and finance whose

knowledge and experience they could readily draw upon.

         174.     Defendants themselves affirmed ADTRAN’s internal control over financial

reporting and signed SOX certifications. In ADTRAN’s 2018 annual report on Form 10-K,

along with each Form 10-Q filed during the Class Period, the Executive Defendants represented

that: (i) they were responsible for establishing and maintaining adequate internal control over

financial reporting; (ii) they had conducted an evaluation of the effectiveness of ADTRAN’s

financial reporting; and (iii) they had concluded that ADTRAN’s internal controls over financial

reporting were effective at the reasonable assurance level throughout the Class Period.

Moreover, in their certifications pursuant to SOX Sections 302 and 906, submitted with the

Company’s 2018 annual report on Form 10-K, along with each Form 10-Q filed during the Class

Period, Defendants represented that (i) they had reviewed the Company’s respective filings; (ii)

the reports did “not contain any untrue statement of material fact or omit to state a material fact

necessary to make the statements made . . . not misleading”; (iii) the financial statements “fairly

present in all material respects the financial condition, results of operations and cash flows” of

ADTRAN; and (iv) the “information contained in the Report fairly presents, in all material




                                               - 61 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 64 of 77



respects, the financial condition and results of operations of the Company.” These types of

public comments – through which Defendants held themselves out as knowledgeable on these

subjects – further support a strong inference of Defendants’ scienter.

         175.     ADTRAN’s unremedied deficiencies in its internal controls over financial

reporting with respect to inventory persists. As noted above, on August 12, 2019, Defendants

admitted that on August 8, 2019, the Company’s management, in consultation with the Audit

Committee of the Board of Directors, concluded that there were two material weaknesses related

to internal control deficiencies that existed as of December 31, 2018, and that continued through

the end of the second quarter of 2019. Since this time, Defendants have consistently represented

in its public filings that management has been working to further strengthen the Company’s

internal controls relating to inventory, including redesigning, enhancing and adding certain

controls and procedures related to the review of significant inputs and assumptions used to

determine the Company’s excess and obsolete inventory reserve, and to ensure the completeness

and accuracy of key reports and related data used in the calculation of the excess and obsolete

inventory reserve. Nevertheless, in ADTRAN’s subsequent quarterly filings and Annual Report

covering the period through December 31, 2019, Defendants have admitted that implementation

of these measures remain ongoing and that management concluded that, as of December 31,

2019, ADTRAN’s controls related to the Company’s excess and obsolete inventory reserve were

not effectively designed and maintained, and the material weakness related to these controls

continued to exist.

         176.     Executives of public companies committed to accurate financials do not allow

material weaknesses in internal controls to exist, let alone remain unremediated for at least eight

consecutive quarters. The Executive Defendants’ failure to institute effective internal controls




                                                - 62 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 65 of 77



prior to, during, and beyond the Class Period and to allow a material weakness to persist for

eight straight quarters further strengthens the inference that Defendants knew, or were

deliberately reckless in not knowing, of their misstatements and omissions.

         177.     Defendants were informed at a face-to-face meetings with the problems

impacting the Telmex project. Defendant Stanton met personally with Telmex officials to

discuss the project installation issues sometime in between spring and July 2019. ADTRAN

prepared at least two months in advance of this meeting.

         178.     Defendants’ direct and extensive involvement in the negotiations and managing

of the Major International Tier 1 Customer Projects. Defendant Stanton kept updated on all

aspects of the work for the Tier 1 customers. Defendant Stanton maintained relationships with

the representatives of the Tier 1 customers such that they would call Defendant Stanton directly

on his cell phone. In addition, Stanton participated in regular calls with customer

representatives. Defendant Stanton would also regularly call ADTRAN sales/customers to ask

how things were going on the project and asked them to call and report to him about any calls he

had with the customer representatives.

         179.     Defendants took undisclosed steps that show their knowledge of the significant

installation delays and problems at the Telmex project. During the first half of 2019, Telmex

reported that ADTRAN products were failing in the field. Instead of losing one subscriber,

Telmex would lose all that were connected to the box, which would be 192 subscribers.

ADTRAN independently analyzed the problem and realized that Telmex’s third-party

installation workers were installing them incorrectly and not grounding the hardware such that

when electrical storms passed through the area, the equipment was ruined. Telmex executives

agreed with ADTRAN’s research that supported the assertion that the hardware had been




                                               - 63 -
010865-11/1260990 V1
            Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 66 of 77



installed incorrectly. As a result of these discussions, ADTRAN set up a training session for

those installing the work in Guadalajara, Mexico so that the equipment would be properly

installed.

         180.     It is absurd to suggest that Defendants were not aware of the problems

impacting their Major Tier 1 International Customers because these projects affected

ADTRAN’s core operations. Throughout the Class Period, ADTRAN repeatedly identified

Deutsche Telekom and Telmex as customers that individually contributed more than 10% of the

Company’s quarterly revenues. Thus, the problems impacting ADTRAN’s relationship with

these customers were so prominent to the Company’s business, financial performance and

prospect that it is not plausible that Defendants did not know about the problems impacting these

integral clients when making the alleged misrepresentations and omissions.

         181.     Defendants’ false denials in response to analyst questions. In response to

analyst inquiry, Defendants refuted any suggestion that demand from these customers were

declining. Such false denials, in response to pointed analyst commentary, are further evidence of

scienter.

         182.     Defendant Shannon’s insider sales during the Class Period were unusual and

suspicious in both timing and amount. While in possession of material non-public information

regarding ADTRAN’s reported financial condition, internal accounting control system and

relationships with important European and Latin American Tier 1 customers, Defendant Shannon

sold his personal shares. In particular, on April 23, 2019, Defendant Shannon sold 5,701 shares

at the price of $17.65 per share for total proceeds of $100,597. This transaction represented the

sale of 23.1% of his total holdings as of that date. The sale was made only several days after the

Company had delivered positive financial results, which were artificially enhanced due to




                                                - 64 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 67 of 77



Defendants inaccurate inventory accounting, but in the midst of the quarter during which

Defendants were conducting an investigation assessing the reasonableness of ADTRAN’s E&O

reserves and inventory related internal control deficiencies. Similarly, on October 16, 2019,

Defendant Shannon sold 6,200 shares at the price of $9.71 per share for total proceeds of

$60,227.42. This transaction represented the sale of 32.6% of his total holdings as of that date.

The sale was made just two weeks before the Company would ultimately disclose the true

reasons for the pause in shipments to its Tier 1 Latin American customer Telmex.

         183.     These sales are further suspicious in terms of amount and timing when compared

with Defendant Shannon’s stock transactions during a period of similar length. Indeed,

according to SEC records, between April 2015 up to the alleged sale on April 23, 2019,

Defendant Shannon had made no sales of his personally held stock.

         184.     The temporal proximity between Defendants’ false statements and omissions

and revelations of the truth supports an inference of scienter. In mid-April, 2019, ADTRAN

announced its financial results for the first quarter of 2019 through SEC filings and an earning

call with investors. These communications to investors: (i) contained false and misleading

statements concerning the Company’s reported inventory; (ii) falsely stated that the Company’s

internal control over financial reporting were effective; and (iii) misrepresented and omitted to

disclose material facts adversely impacting the Company’s business prospects with its major

international Tier 1 customers, Deutsche Telekom and Telmex. Defendants would later go on to

tout Deutsche Telekom’s and Telmex’s strong demand for ADTRAN’s products at an industry

conference in May 2019. Just months later, in mid-July 2018, however, the truth started to

emerge when ADTRAN disclosed: (i) the existence of an ongoing assessment of the

reasonableness of its E&O reserves and inventory related internal control deficiencies, which




                                               - 65 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 68 of 77



may result in the identification of material weaknesses; and (ii) a steep reduction in estimated

revenues in the third quarter of 2019 given “the effect of a temporary slowdown in capital

spending for access at a Tier 1 European carrier customer.” The close temporal proximity

between the above-referenced Spring 2019 false statements and the July 2019 disclosure

supports a strong inference of Defendants’ scienter.

          185.    Defendants repeatedly spoke on the subject matters misrepresented. The

Executive Defendants made repeated statements to investors about ADTRAN’s inventory

accounting, internal control over financial reporting, and relationship with its major Tier 1

international customers throughout the Class Period in a multitude of SEC filings signed by

and/or approved by the Executive Defendants, as well as on earnings calls. Having spoken on

these subjects so many times, the Executive Defendants knew, or were deliberately reckless in

not knowing, that the statements about ADTRAN’s inventory accounting, internal control over

financial reporting, and relationship with its major Tier 1 international customers were false and

misleading and omitted material information.

    IV.       APPLICABILITY OF PRESUMPTION OF RELIANCE: FRAUD ON THE
                               MARKET DOCTRINE

          186.    At all relevant times, the market for ADTRAN common stock was an efficient

market for the following reasons, among others:

                  (a)    ADTRAN common stock met the requirements for listing and was listed

and actively traded on the NASDAQ, a highly efficient and automated market;

                  (b)    as a regulated issuer, ADTRAN filed periodic public reports with the SEC

and the NASDAQ;

                  (c)    ADTRAN regularly communicated with public investors via established

market communication mechanisms, including regular disseminations of press releases on the



                                               - 66 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 69 of 77



national circuits of major newswire services and other wide-ranging public disclosures, such as

communications with the financial press and other similar reporting services; and

                  (d)    ADTRAN was followed by several securities analysts employed by major

brokerage firms who wrote reports which were distributed to the sales force and certain

customers of their respective brokerage firms. Each of these reports was publicly available and

entered the public marketplace.

         187.     As a result of the foregoing, the market for ADTRAN common stock promptly

digested current information regarding ADTRAN from all publicly available sources and

reflected such information in the prices of the stock. Under these circumstances, all purchasers

of ADTRAN securities during the Class Period suffered similar injury through their purchase of

ADTRAN common stock at artificially inflated prices and/or their purchase of ADTRAN call

options or sale of ADTRAN put options at prices tied to the artificially inflated price of

ADTRAN’s common stock, and a presumption of reliance applies.

                                    V.     NO SAFE HARBOR

         188.     The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

Many of the specific statements pleaded herein were not identified as “forward-looking

statements” when made. To the extent there were any forward-looking statements, there were no

meaningful cautionary statements identifying important factors that could cause actual results to

differ materially from those in the purportedly forward-looking statements. Alternatively, to the

extent that the statutory safe harbor does apply to any forward-looking statements pleaded

herein, Defendants are liable for those false forward-looking statements because at the time each

of those forward-looking statements were made, the particular speaker knew that the particular

forward-looking statement was false, and/or the forward-looking statement was authorized


                                                - 67 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 70 of 77



and/or approved by an executive officer of ADTRAN who knew that those statements were false

when made.

                               VI.   CLASS ACTION ALLEGATIONS

         189.     Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class consisting of all those who purchased securities

issued by ADTRAN between February 28, 2019 and October 31, 2019, inclusive (the “Class

Period”), and who suffered losses as a result of these purchases (the “Class”). Excluded from the

Class are Defendants, the officers and directors of ADTRAN, at all relevant times, members of

their immediate families and their legal representatives, heirs, successors or assigns and any

entity in which Defendants have or had a controlling interest.

         190.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, ADTRAN common stock was actively traded on

the NASDAQ. While the exact number of Class members is unknown to Plaintiffs at this time

and can only be ascertained through appropriate discovery, Plaintiffs believe that there are

thousands of members in the proposed Class. Record owners and other members of the Class

may be identified from records maintained by ADTRAN or its transfer agent and may be notified

of the pendency of this action by mail, using the form of notice similar to that customarily used

in securities class actions.

         191.     Plaintiffs’ claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law complained of herein.

         192.     Plaintiffs will fairly and adequately protect the interests of the members of the

Class and have retained counsel competent and experienced in class action and securities

litigation.


                                                  - 68 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 71 of 77



         193.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  (a)    whether the federal securities laws were violated by Defendants’ acts as

alleged herein;

                  (b)    whether statements made by Defendants to the investing public during the

Class Period misrepresented material facts about the business and operations of ADTRAN;

                  (c)    whether the price of ADTRAN securities was artificially inflated during

the Class Period; and

                  (d)    to what extent the members of the Class have sustained damages and the

proper measure of damages.

         194.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

                  VII.   CLAIMS BROUGHT UNDER THE EXCHANGE ACT

                                               COUNT I

                                  Violation of Section 10(b) of
                               the Exchange Act and Rule 10b-5
                         Promulgated Thereunder Against All Defendants

         195.     Plaintiffs repeat and reallege each and every allegation contained above as if fully

set forth herein.




                                                  - 69 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 72 of 77



         196.     During the Class Period, Defendants carried out a plan, scheme and course of

conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing

public, including Plaintiffs and other Class members, as alleged herein; and (ii) cause Plaintiffs

and other members of the Class to purchase ADTRAN’s securities at artificially inflated prices.

In furtherance of this unlawful scheme, plan and course of conduct, Defendants, and each

defendant, took the actions set forth herein.

         197.     Defendants: (a) employed devices, schemes, and artifices to defraud; (b) made

untrue statements of material fact and/or omitted to state material facts necessary to make the

statements not misleading; and (c) engaged in acts, practices, and a course of business which

operated as a fraud and deceit upon the purchasers of the Company’s securities during the Class

Period in an effort to maintain artificially high market prices for ADTRAN’s securities in

violation of Section 10(b) of the Exchange Act and Rule 10b-5. All Defendants are sued either

as primary participants in the wrongful and illegal conduct charged herein or as controlling

persons as alleged below.

         198.     Defendants, individually and in concert, directly and indirectly, by the use, means

or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

continuous course of conduct to conceal adverse material information about ADTRAN’s

financial well-being and prospects, as specified herein.

         199.     Defendants employed devices, schemes and artifices to defraud, while in

possession of material adverse non-public information and engaged in acts, practices, and a

course of conduct as alleged herein in an effort to assure investors of ADTRAN’s value and

performance and continued substantial growth, which included the making of, or the

participation in the making of, untrue statements of material facts and/or omitting to state




                                                 - 70 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 73 of 77



material facts necessary in order to make the statements made about ADTRAN and its business

operations and future prospects in light of the circumstances under which they were made, not

misleading, as set forth more particularly herein, and engaged in transactions, practices and a

course of business which operated as a fraud and deceit upon the purchasers of the Company’s

securities during the Class Period.

         200.     Each of the Individual Defendants’ primary liability and controlling person

liability arises from the following facts: (i) the Individual Defendants were high-level executives

and/or directors at the Company during the Class Period and members of the Company’s

management team or had control thereof; (ii) each of these defendants, by virtue of their

responsibilities and activities as a senior officer and/or director of the Company, was privy to and

participated in the creation, development and reporting of the Company’s internal budgets, plans,

projections and/or reports; (iii) each of these defendants enjoyed significant personal contact and

familiarity with the other defendants and was advised of, and had access to, other members of the

Company’s management team, internal reports and other data and information about the

Company’s finances, operations, and sales at all relevant times; and (iv) each of these defendants

was aware of the Company’s dissemination of information to the investing public which they

knew and/or recklessly disregarded was materially false and misleading.

         201.     Defendants had actual knowledge of the misrepresentations and/or omissions of

material facts set forth herein, or acted with reckless disregard for the truth in that they failed to

ascertain and to disclose such facts, even though such facts were available to them. Such

defendants’ material misrepresentations and/or omissions were done knowingly or recklessly and

for the purpose and effect of concealing ADTRAN’s financial well-being and prospects from the

investing public and supporting the artificially inflated price of its securities. As demonstrated by




                                                 - 71 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 74 of 77



Defendants’ overstatements and/or misstatements of the Company’s business, operations,

financial well-being, and prospects throughout the Class Period, Defendants, if they did not have

actual knowledge of the misrepresentations and/or omissions alleged, were reckless in failing to

obtain such knowledge by deliberately refraining from taking those steps necessary to discover

whether those statements were false or misleading.

         202.     Plaintiffs and the Class have suffered damages in that, in reliance on the integrity

of the market, they paid artificially inflated prices for ADTRAN securities. Plaintiffs and the

Class would not have purchased ADTRAN securities at the prices they paid, or at all, if they had

been aware that the market prices had been artificially and falsely inflated by Defendants’

misleading statements.

         203.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiffs and

the other members of the Class suffered damages in connection with their purchases of

ADTRAN securities during the Class Period.

         204.     By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange

Act and Rule 10b-5 promulgated thereunder.

                                              COUNT II

                                  Violation of Section 20(a) of
                       the Exchange Act Against the Individual Defendants

         205.     Plaintiffs repeat and reallege each and every allegation contained above as if fully

set forth herein.

         206.     The Individual Defendants acted as controlling persons of ADTRAN within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By reason of their positions as

officers and/or directors of ADTRAN, and their ownership of ADTRAN stock, the Individual

Defendants had the power and authority to cause ADTRAN to engage in the wrongful conduct



                                                  - 72 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 75 of 77



complained of herein, and did, in fact, influence and control, directly or indirectly, the decision-

making of the Company. Additionally, the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company and had the power to control or

influence the particular transactions giving rise to the securities violations. The Individual

Defendants also had ultimate authority over the Company’s statements, including controlling the

content of such statements and whether and how to communicate such statements to the public.

By reason of such conduct, the Individual Defendants are liable pursuant to Section 20(a) of the

Exchange Act.

                                   VIII.       PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

         A.       Determining that this action is a proper class action, designating Plaintiffs as Lead

Plaintiffs and certifying Lead Plaintiffs as Class representatives under Rule 23 of the Federal

Rules of Civil Procedure and Lead Plaintiffs’ counsel as Lead Counsel;

         B.       Awarding compensatory damages in favor of Plaintiffs and the other Class

members against all Defendants, jointly and severally, for all damages sustained as a result of

Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

         C.       Awarding Plaintiffs and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and

         D.       Such other and further relief as the Court may deem just and proper.

                                       IX.     JURY DEMAND

         Plaintiffs hereby demand a trial by jury.




                                                  - 73 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 76 of 77



DATED: April 30, 2020                 Respectfully submitted,

                                      HAGENS BERMAN SOBOL SHAPIRO LLP

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                                       - 74 -
010865-11/1260990 V1
          Case 5:20-cv-00050-LCB Document 82 Filed 04/30/20 Page 77 of 77



                                  CERTIFICATE OF SERVICE
         I hereby certify that on April 30, 2020, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system which will send notification of such filing to the e-mail

addresses registered in the CM/ECF system, as denoted on the Electronic Mail Notice List, and I

hereby certify that I have mailed a paper copy of the foregoing document via the United States

Postal Service to the non-CM/ECF participants indicated on the Manual Notice List generated by

the CM/ECF system.


                                                                /s/ Lucas E. Gilmore
                                                                  Lucas E. Gilmore




                                                - 75 -
010865-11/1260990 V1
